Case 1:18-cv-00719-CCR   Document 252-38   Filed 02/07/25   Page 1 of 95




                 Exhibit 37
Case 1:18-cv-00719-CCR   Document 252-38   Filed 02/07/25   Page 2 of 95
                                                             JASMINE EVANS


     UNITED STATES DISTRICT COURT
     WESTERN DISTRICT OF NEW YORK

     ----------------------------------------------------
     BLACK LOVE RESISTS IN THE RUST by and through
     MARIELLE SHAVONNE SMITH and CHARIS HUMPHREY
     on behalf of its members, SHAKETA REDDEN,
     DORETHEA FRANKLIN, TANIQUA SIMMONS, DE'JON HALL,
     JOSEPH BONDS, CHARLES PALMER, SHIRLEY SARMIENTO,
     EBONY YELDON, and JANE DOE,
     individually and on behalf of a class of all
     others similarly situated,

                                      Plaintiffs,

           -vs-


     CITY OF BUFFALO, N.Y., BYRON B. BROWN,
     Mayor of the City of Buffalo, in his individual and
     official capacities,
     BYRON C. LOCKWOOD, Commissioner of the
     Buffalo Police Department, in his individual
     and official capacities,
     DANIEL DERENDA, former Commissioner of the
     Buffalo Police Department, in his individual capacity,
     AARON YOUNG, KEVIN BRINKWORTH, PHILIP SERAFINI,
     ROBBIN THOMAS,
     UNKNOWN SUPERVISORY PERSONNEL 1-10,
     UNKNOWN OFFICERS 1-20, each officers of the
     Buffalo Police Department,
     in their individual capacities,

                                  Defendants.
     ----------------------------------------------------
Case 1:18-cv-00719-CCR   Document 252-38   Filed 02/07/25   Page 3 of 95


                                                                           2




                                       Examination Before Trial of

    JASMINE EVANS, taken pursuant to the Federal Rules of Civil

    Procedure, in the law offices of HODGSON RUSS LLP, The

    Guaranty Building, 140 Pearl Street, Suite 100, Buffalo, New

    York, taken on December 15, 2022, commencing at 1:58 P.M.,

    before NICHOLE WINANS, Notary Public.




                             Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR   Document 252-38   Filed 02/07/25     Page 4 of 95


                                                                             3



 1                              INDEX TO EXHIBITS

 2

 3

 4   Defendant's Exhibits                               For Identification

 5   F        Evans Hearing Transcript                                79

 6

 7

 8

 9

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12

13

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                            Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR       Document 252-38       Filed 02/07/25    Page 5 of 95


                                                                                        4



 1       A P P E A R A N C E S:

 2       W E S T E R N N E W Y O R K L A W C E N T E R,
         B y K E I S H A A . W I L L I A M S, E S Q . ,
 3       C a t h e d r a l P a r k T o w e r,
         3 7 F r a n k l i n S t r e e t,
 4       Suite 210,
         B u f f a l o, N e w Y o r k 1 4 2 0 2,
 5       A p p e a r i n g f o r t h e P l a i n t i f f s.

 6       N A T I O N A L C E N T E R F O R L A W A N D E C O N O M I C J U S T I C E,
         B y K A R I N A K . T E F F T, E S Q . ,
 7       5 0 B r o a d w a y,
         S u i t e 1 5 0 0,
 8       N e w Y o r k, N e w Y o r k 1 0 0 0 4,
         A p p e a r i n g f o r t h e P l a i n t i f f s.
 9
         HODGSON RUSS LLP,
10       B y P E T E R A . S A H A S R A B U D H E, E S Q . ,
         T h e G u a r a n t y B u i l d i n g,
11       1 4 0 P e a r l S t r e e t,
         Suite 100,
12       B u f f a l o, N e w Y o r k 1 4 2 0 2- 4 0 4 0,
         A p p e a r i n g f o r t h e D e f e n d a n t s.
13

14

15               (The following stipulations were entered

16       i n t o b y a l l p a r t i e s. )

17               It is hereby stipulated by and between counsel

18       for the respective parties that the oath of the

19       R e f e r e e i s w a i v e d, t h a t s i g n i n g, f i l i n g a n d

20       c e r t i f i c a t i o n o f t h e t r a n s c r i p t a r e w a i v e d, a n d

21       t h a t a l l o b j e c t i o n s, e x c e p t a s t o t h e f o r m o f t h e

22       q u e s t i o n s, a r e r e s e r v e d u n t i l t h e t i m e o f t r i a l.

23




                                  Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR         Document 252-38        Filed 02/07/25       Page 6 of 95


                                                                                          5



 1                              J A S M I N E               E V A N S,

 2                1 2 0 G r o t e S t r e e t, B u f f a l o, N e w Y o r k 1 4 2 0 7,

 3                       a f t e r b e i n g d u l y c a l l e d a n d s w o r n,

 4                                  t e s t i f i e d a s f o l l o w s:

 5

 6   E X A M I N A T I O N B Y M R . S A H A S R A B U D H E:

 7

 8   Q.    G o o d a f t e r n o o n, M i s s E v a n s.        My name is Peter

 9         S a h a s r a b u d h e, I ' m a n a t t o r n e y h e r e a t H o d g s o n

10         R u s s.    I represent the City of Buffalo and a

11         handful of individual Defendants in a lawsuit

12         that you and a couple other Plaintiffs have

13         b r o u g h t.    Have you ever given deposition

14         t e s t i m o n y o f a n y k i n d b e f o r e?

15   A.    No.

16   Q.    H a v e y o u e v e r g i v e n s w o r n t e s t i m o n y o f a n y k i n d?

17   A.    Unless like -- no.                 I don't think so.

18   Q.    N e v e r b e e n t o a c o u r tr o o m a n d g i v e n t e s t i m o n y i n

19         a c o u r t r o o m?

20   A.    O n l y f o r t r a f f i c t i c k e t s, b u t n o t h i n g o t h e r t h a n

21         t h a t.

22   Q.    O k a y.    A l l r i g h t.      S o t h e r e' s g o i n g t o b e a

23         couple ground rules that apply to your testimony




                                    Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR         Document 252-38         Filed 02/07/25    Page 7 of 95


                                                                                          6



 1        today that I'm going to go over with you just so

 2        w e ' r e a l l o n t h e s a m e p a g e.          O k a y?

 3   A.   O k a y.

 4   Q.   So the first thing that I want to ask you to do

 5        i s t o t h e b e s t o f y o u r a b i l i t y, c a n y o u l e t m e

 6        f i n i s h m y q u e s t i o n b e f o r e y o u g i v e a n a n s w e r?          A

 7        lot of times you know what I'm going to ask, and

 8        t h a t' s t o t a l l y n o r m a l i n c o l l o q u i a l e v e r y d a y

 9        c o n v e r s a t i o n, b u t w h a t' s i m p o r t a n t f o r p u r p o s e s

10        of today is that what you say and what I say gets

11        a c c u r a t el y t r a n s c r i b e d, a n d s o m e t i m e s t h a t

12        d o e s n' t h a p p e n i f I d o n ' t l e t y o u f i n i s h y o u r

13        a n s w e r o r i f y o u d o n ' t l e t m e f i n i s h m y q u e s t i o n,

14        s o t o t h e b e s t o f y o u r a b i l i t y, w i l l y o u w a i t t o

15        let me finish my question before you give an

16        a n s w e r?

17   A.   S u r e.

18   Q.   O k a y.       A n d o f c o u r s e, I ' l l t r y m y b e s t t o d o t h e

19        same for you.              We need a full verbal response to

20        every single question so that your testimony is

21        a c c u r a t e l y t r a n s c r i b e d.   So a lot of times you

22        might be tempted to give an uh-uh or an uh-uh or

23        u m - h u m o r s h a k e y o u r h e a d o r n o d y o u r h e a d, b u t




                                   Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR       Document 252-38       Filed 02/07/25     Page 8 of 95


                                                                                         7



 1        t h a t d o e s n' t r e a l l y g e t t r a n s c r i b e d, y o u r a n s w e r

 2        w o n ' t b e t r a n s c r i b e d r e a l l y w e l l, s o t o t h e b e s t

 3        o f y o u r a b i l i t y, c a n y o u t r y t o g i v e m e a f u l l

 4        verbal response to every question that I ask you?

 5   A.   S u r e.

 6   Q.   O k a y.   If you don't understand a question that I

 7        a s k , t h a t' s t o t a l l y f i n e.    I don't want you to

 8        s p e cu l a t e a s t o w h a t I ' m t r y i n g t o a s k y o u .          If

 9        y o u d o n ' t u n d e r s t a n d i t , j u s t a s k m e t o r e p h r a s e.

10        Can you promise me that if you don't understand

11        m y q u e s t i o n, y o u ' l l a s k m e t o r e p h r a s e m y

12        q u e s t i o n o r t e l l m e y o u d o n ' t u n d e r s t a n d?

13   A.   I w i l l d o t h a t.

14   Q.   O k a y.   A n d c o n v e r s e l y, i f y o u d o a n s w e r m y

15        question without asking me to rephrase or telling

16        m e t t h a t y o u d o n ' t u n d e r s t a n d, I ' m g o i n g t o t a k e

17        t h a t t o m e a n y o u u n d e rs t o o d m y q u e s t i o n, i s t h a t

18        f a i r?

19   A.   F a i r.

20   Q.   O k a y.   Y o u ' r e u n d e r o a t h, y o u u n d e r s t a n d w h a t

21        t h a t m e a n s, c o r r e c t?

22   A.   Yes.

23   Q.   Any reason I should know about that would affect




                                 Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR          Document 252-38        Filed 02/07/25    Page 9 of 95


                                                                                           8



 1        your ability to give truthful and accurate

 2        t e s t i m o n y t o d a y?

 3   A.   No.

 4   Q.   You're not under the influence of any

 5        m e d i c a t i o n s, d r u g s, a l c o h o l, a n y t h i n g l i k e t h a t?

 6   A.   No.

 7   Q.   A l l r i g h t.        If you need to take a break at any

 8        t i m e, t h a t' s t o t a l l y c o o l.          H o w e v e r, i f t h e r e' s a

 9        q u e s t i o n p e n d i n g, y o u h a v e t o a n s w e r t h e q u e s t i o n

10        b e f o r e y o u g o t o b r e a k.         D o y o u u n d e r s t a n d t h a t?

11   A.   I u n d e r s t a n d.

12   Q.   Your lawyer is going to object from time to time

13        o r m a y o b j e c t f r o m t i m e t o t i m e, b u t t h i s i s n ' t

14        like a courtroom proceeding where a Judge would

15        r u l e o n t h e o b j e c t i o n, s h e ' s j u s t g o i n g t o

16        preserve her objections for later on, so if an

17        o b j e c t i o n i s s t a t e d, y o u s t i l l h a v e t o a n s w e r t h e

18        q u e s t i o n.      D o y o u u n d e r s t a n d t h a t?

19   A.   Yes.

20   Q.   The only time you don't answer a question is if

21        your lawyer specifically directs you not to

22        a n s w e r.       D o y o u u n d e r s t a n d?

23   A.   I u n d e r s t a n d.




                                     Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR       Document 252-38         Filed 02/07/25   Page 10 of 95


                                                                                       9



 1   Q.   O k a y.    I don't want you to guess or speculate

 2        t o d a y, b u t t h e r e a r e g o i n g t o b e t i m e s w h e n I a s k

 3        y o u t o e s t i m a t e.      Do you understand the

 4        difference between speculation and guessing and

 5        a n e s t i m a t e?

 6   A.   Yes.

 7   Q.   Could you tell me what your understanding between

 8        a guess and an estimate is?

 9   A.   A g u e s s i s w h e n y o u a r e n o t r e a l l y s u r e, s o y o u

10        j u s t w a n t t o f i n d s o m e t h i n g t o p u t i n a p l a c e,

11        and an estimate is you don't know exactly a

12        n u m b e r o r a m o u n t o f t i m e s o r s o m e t h i n g, s o y o u

13        can say oh, less than ten or -- instead of just

14        t h r o w i n g o u t a n y k i n d o f n u m b e r.

15   Q.   O k a y.    P e r f e c t.    I t h i n k t h a t' s a g o o d w a y o f

16        d e s c r i b i n g t h a t d i s t i n c t i o n.   What did you do to

17        p r e p a r e f o r t o d a y, M i s s E v a n s?

18   A.   M e t w i t h m y l a w y e r s.

19   Q.   H o w m a n y t i m e s?

20   A.   O n c e.

21   Q.   W h e n w a s t h a t m e e t i n g?

22   A.   L a s t w e e k.

23   Q.   I f y o u d o n ' t k n o w t h e e x a c t d a y , t h a t' s o k a y.




                                   Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR       Document 252-38      Filed 02/07/25    Page 11 of 95


                                                                                          10



 1   A.   I d o n ' t k n o w.     I came from work and I came

 2        s t r a i g h t t o t h e m, s o - -

 3   Q.   A b o u t h o w l o n g w a s t h e m e e t i n g?

 4   A.   A b o u t t h r e e h o u r s.

 5   Q.   W h a t, i f a n y , d o c u m e n t s d i d y o u r e v i e w d u r i n g t h e

 6        m e e t i n g?

 7   A.   Quite a few.           N o t s u r e e x a c t l y h o w m a n y.

 8   Q.   Do you recall specifically any documents that you

 9        d i d r e v i e w?

10   A.   M y - - I r e v i e w e d m y C o m p l a i n t, m y s p e c i f i c

11        C o m p l a i n t, I k n o w t h a t f o r s u r e.

12   Q.   W h a t e l s e?

13   A.   N o t t o o s u r e.     O t h e r s t u f f t h a t d i d n' t p e r t a i n

14        specifically to me.

15   Q.   O t h e r t h a n t h e C o m p l a i n t, d i d y o u r e v i e w a n y

16        documents that did pertain specifically to you?

17   A.   Yes.

18   Q.   W h a t d i d y o u r e v i e w?

19   A.   I r e v i e w e d a t r a n s c r i p t f r o m a c o u r t p r o c e e d i n g,

20        I r e v i e w e d s o m e t i c k e t s t h a t I r e c e i v e d.     I

21        r e v i e w e d f e e s a n d f i n e s t h a t I r e c e i v e d.     I

22        r e v i e w e d - - t h a t I k n o w o f f h a n d.

23   Q.   O k a y.    Nothing else you can think of right now




                                 Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR       Document 252-38        Filed 02/07/25     Page 12 of 95


                                                                                       11



 1        that you reviewed --

 2   A.   N o t s p e c i f i c a l l y.

 3   Q.   -- that pertains specifically to you?

 4   A.   N o t s p e c i f i c a l l y, n o .

 5   Q.   O k a y.    O t h e r t h a n y o u r a t t o r n e y s, d i d y o u s p e a k

 6        w i t h a n y o n e a b o u t y o u r t e s t i m o n y t o d a y?

 7   A.   No.

 8   Q.   Have you spoken with anyone besides your

 9        a t t o r n e y s a b o u t t h i s l a w s u i t g e n e r a l l y?

10   A.   No.

11   Q.   Have you spoken with any other Plaintiff in this

12        l a w s u i t w i t h o u t y o u r a t t o r n e y s p r e s e n t?

13   A.   No.

14   Q.   Do you know any of the other Plaintiffs in this

15        l a w s u i t?

16   A.   Just one.

17   Q.   W h o d o y o u k n o w?

18   A.   I k n o w T a n i q u a S i m m o n s.

19   Q.   H o w d o y o u k n o w T a n i q u a S i m m o n s?

20   A.   F r o m t h e c o m m u n i t y.       But I don't know her

21        p e r s o n a l l y.

22   Q.   S o y o u ' v e n e v e r m e t h e r b e f o r e?

23   A.   I h a v e m e t h e r , b u t i t ' s n o t a r e l a t i o ns h i p, b u t




                                  Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR          Document 252-38        Filed 02/07/25    Page 13 of 95


                                                                                         12



 1         s h e i s w e l l k n o w n i n t h e c o m m u n i t y.

 2   Q.    H o w i s s h e w e l l k n o w n i n t h e c o m m u n i t y?

 3   A.    S h e ' s a c o m m u n i t y a c t i v i s t.

 4   Q.    T o y o u r k n o w l e d g e, i s T a n i q u a S i m m o n s i n v o l v e d i n

 5         a n y s p e c i f i c o r g a n i z a t i o ns t h a t d o a c t i v i s m?

 6   M S . T E F F T:       O b j e c t t o f o r m.

 7   T H E W I T N E S S:      I d o n ' t k n o w.

 8   B Y M R . S A H A S R A B U D H E:

 9   Q.    W h e r e h a v e y o u m e t T a n i q u a S i m m o n s?

10   A.    O n m o r e t h a n o n e o c c a s i o n.

11   Q.    In what locations or settings have you met her?

12   M S . T E F F T:       O b j e c t t o f o r m.

13   T H E W I T N E S S:      I s t i l l h a v e t o a n s w e r?

14   M S . T E F F T:       Y o u c a n a n s w e r.    Yes.

15   T H E W I T N E S S:      I met her -- where did I meet her.                        I

16         met her a few years ago at a meeting that we had

17         w i t h t h e a t t o r n e y g e n e r a l' s o f f i c e.

18   B Y M R . S A H A S R A B U D H E:

19   Q.    Do you recall where that meeting was?

20   A.    A t t h e W e s t e r n N e w Y o r k L a w C e n t e r.

21   Q.    D o y o u r e c a l l w h a t t h a t m e e t i n g w a s a b o u t?

22   A.    I t w a s b e f o r e t h i s l a w s u i t w a s f i l e d.

23   Q.    D o y o u r e c a l l w h a t w a s d i s c u s s e d a t t h e m e e t i n g?




                                     Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR          Document 252-38        Filed 02/07/25   Page 14 of 95


                                                                                        13



 1   A.    Yes.

 2   Q.    W h a t w a s d i s c u s s e d a t t h e m e e t i n g?

 3   A.    Discriminatory practices from the Buffalo Police

 4         D e p a r t m e n t a n d t h e m a y o r.      We brought it forth to

 5         t h e a t t o r n e y g e n e r a l' s s t a f f.

 6   Q.    H o w m a n y y e a r s a g o w a s t h i s m e e t i n g a g a i n?

 7   A.    I d o n ' t k n o w e x a c t l y.

 8   Q.    W a s i t b e f o r e t h e p a n d e m i c?

 9   A.    Yes.

10   Q.    W a s i t m o r e t h a n a y e a r b e f o r e t h e p a n d e m i c?

11   A.    I ' m n o t s u r e.

12   Q.    D o y o u r e c a l l w h o f r o m t h e a t t o r n e y g e n e r a l' s

13         office you spoke to?

14   A.    No.      I t w a s a g r o u p o f p e o p l e.

15   Q.    D i d y o u s p e a k a t t h e m e e t i n g?

16   A.    Yes.

17   Q.    Do you know if Taniqua Simmons spoke at the

18         m e e t i n g?

19   M S . T E F F T:       O b j e c t t o f o r m.

20   T H E W I T N E S S:      I d o n ' t r e m e m b e r.

21   B Y M R . S A H A S R A B U D H E:

22   Q.    D i d y o u t a l k t o T a n i q u a S i m m o n s a t t h e m e e t i n g?

23   A.    N o t p e r s o n a l l y.




                                     Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR       Document 252-38       Filed 02/07/25   Page 15 of 95


                                                                                       14



 1   Q.   You've never spoken to Taniqua Simmons about this

 2        l a w s u i t?

 3   A.   No.

 4   Q.   Y o u ' v e j u s t s e e n h e r n a m e o n s o m e o f t h e p a p e r s,

 5        is that how you know she's involved with this

 6        l a w s u i t?

 7   A.   Yes.

 8   Q.   O t h e r t h a n T a n i q u a S i m m o n s, d o y o u k n o w a n y o t h e r

 9        P l a i n t i f f s?

10   A.   No.

11   Q.   Are you aware of the organization Black Love

12        R e s i s t s I n T h e R u s t?

13   A.   Yes.

14   Q.   W h a t i s B l a c k L o v e R e s i s t s I n T h e R u s t?

15   A.   I d o n ' t k n o w e x a c t l y w h a t t h e y d o s p e c i f i c a l l y,

16        but I know that I have been to a meeting or two

17        w i t h t h e m.

18   Q.   W h e r e w e r e t h o s e m e e t i n g s?

19   A.   A t t h e i r l o c a t i o n o n W e s t F e r r y S t r e e t.

20   Q.   D o y o u r e c a l l h o w l o n g a g o t h o s e m e e t i n g s w e r e?

21   A.   A few years ago.

22   Q.   W e r e t h e y b e f o r e t h e p a n d e m i c?

23   A.   Yes.




                                 Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR          Document 252-38        Filed 02/07/25   Page 16 of 95


                                                                                        15



 1   Q.    Did those meetings occur before this lawsuit was

 2         f i l e d?

 3   A.    I ' m n o t s u r e.         Around the time of discussion and

 4         everybody coming together with complaints and

 5         i n f o r m a t i o n, s h a r i n g w i t h e a c h o t h e r.

 6   Q.    W a s T a n i q u a S i m m o n s p r e s e n t a t t h a t m e e t i n g?

 7   M S . T E F F T:       O b j e c t t o f o r m.

 8   T H E W I T N E S S:      I c a n s a y o n e f o r s u r e, b u t n o t s o m u c h

 9         a s m o r e t h a n t h a t.

10   B Y M R . S A H A S R A B U D H E:

11   Q.    So one of --

12   A.    T h a t I s p e c i f i c a l l y r e m e m b e r.

13   Q.    O k a y.     You remember her being at one of the

14         meetings --

15   A.    Yes.

16   Q.    - - h e l d b y B l a c k L o v e R e s i s t s I n T h e R u s t?

17   A.    Yes.

18   Q.    A b o u t h o w m a n y p e o p l e a t t e n d e d t h a t m e e t i n g?

19   A.    I ' m n o t s u r e e x a c t l y.      I want to say maybe twenty

20         o r l e s s.

21   Q.    H o w d i d y o u f i n d o u t a b o u t t h a t m e e t i n g?

22   A.    F r o m B r i t t a n y.

23   Q.    W h o ' s B r i t t a n y?




                                      Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR      Document 252-38        Filed 02/07/25     Page 17 of 95


                                                                                         16



 1   A.   Brittany was our lawyer earlier on in the case

 2        w h e r e i t g o t s t a r t e d, w h o n o l o n g e r r e p r e s e n t s

 3        t h e o r g a n i z a t i o n t h a t r e p r e s e n t s t h i s c a s e.

 4   Q.   O k a y.    So was Brittany a lawyer for the

 5        P l a i n t i f f s i n t h i s c a s e a t o n e p o i n t?

 6   A.   Yes.

 7   Q.   O k a y.    I don't want to know about anything she

 8        told you or anything you talked about or

 9        d i s c u s s e d b e c a u s e t h a t w o u l d b e p r i v i l e g e d, b u t

10        y o u l e a r n e d a b o u t t h e m e e t i n g f r o m a l a w y e r?

11   A.   Yes.

12   Q.   O k a y.    Were the meetings close in time to one

13        a n o t h e r?

14   A.   I would say yes.

15   Q.   About how much time elapsed between one meeting

16        a n d t h e s e c o n d?

17   A.   I d o n o t r e m e m b e r.

18   Q.   Have you ever been a member of Black Love Resists

19        I n T h e R u s t?

20   A.   No.

21   Q.   Do you know who any of the members are?

22   A.   I k n o w o n e p e r s o n' s n a m e, F e l i c i a.

23   Q.   D o y o u k n o w F e l i c i a' s l a s t n a m e?




                                  Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR      Document 252-38      Filed 02/07/25    Page 18 of 95


                                                                                       17



 1   A.   No.

 2   Q.   Have you ever spoken to Felicia about this

 3        l a w s u i t?

 4   A.   No.

 5   Q.   Do you know any other members of Black Love

 6        R e s i s t s I n T h e R u s t?

 7   A.   No.

 8   Q.   P r i o r t o g o i n g t o t h o s e m e e t i n g s, d i d y o u k n o w

 9        what Black Love Resists In The Rust was?

10   A.   No.

11   Q.   You only learned what the organization was as a

12        r e s u l t o f t h e m e e t i n g?

13   A.   Yes.

14   Q.   Were there any attorney general members present

15        a t a n y m e e t i n g - - a t e i t h e r m e e ti n g w i t h B l a c k

16        L o v e R e s i s t s I n T h e R u s t?

17   A.   O n l y t h e m e e t i n g a t W e s t e r n N e w Y o r k L a w C e n t e r.

18   Q.   O k a y.    B u t t h a t w a s n' t a m e e t i n g h e l d b y B l a c k

19        L o v e R e s i s t s I n T h e R u s t, w a s i t ?

20   A.   No.

21   Q.   O k a y.    And so there were no attorney general

22        members present --

23   A.   No.




                                 Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR      Document 252-38        Filed 02/07/25     Page 19 of 95


                                                                                           18



 1   Q.   -- at the two meetings held by Black Love Resists

 2        I n T h e R u s t?

 3   A.   No.

 4   Q.   Were there any City of Buffalo representatives

 5        p r e s e n t?

 6   A.   No.

 7   Q.   N o l a w e n f o r c em e n t r e p r e s e n t a t i v e s p r e s e n t a t

 8        all?

 9   A.   No.

10   Q.   O k a y.    Have you ever been asked to be a member of

11        B l a c k L o v e R e s i s t s I n T h e R u s t?

12   A.   No.

13   Q.   W h a t i s y o u r d a t e o f b i r t h, M i s s E v a n s?

14   A.

15   Q.   O t h e r t h a n J a s m i n e E v a n s, h a v e y o u e v e r g o n e b y

16        a n y o t h e r n a m es ?

17   A.   No.

18   Q.   A r e y o u c u r r e n t l y m a r r i e d?

19   A.   No.

20   Q.   Do you currently have a significant other or

21        p a r t n e r t h a t y o u l i v e w i t h?

22   A.   W e d o n ' t l i v e t o g e t h e r.

23   Q.   D o y o u h a v e a s i g n i f i c a n t o t h e r, a p a r t n e r w h o




                                  Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR      Document 252-38        Filed 02/07/25   Page 20 of 95


                                                                                     19



 1        y o u ' r e i n a r e l a t i o n s h i p w i t h?

 2   A.   Yes.

 3   Q.   W h a t i s t h e i r n a m e?

 4   A.   A n t h o n y G r e e n.

 5   Q.   W h e r e d o e s A n t h o n y G r e e n l i v e?

 6   A.   5 3 E a r l P l a c e.

 7   Q.   I s t h a t h e r e i n t h e C i t y o f B u f f a l o?

 8   A.   1 4 2 1 1.   It is.

 9   Q.   H a v e y o u e v e r b e e n m a r r i e d?

10   A.   No.

11   Q.   D o y o u h a v e a n y c h i l d r e n?

12   A.   F o u r.

13   Q.   D o y o u h a v e a n y c h i l d r e n w i t h A n t h o n y G r e e n?

14   A.   F o u r.

15   Q.   H o w o l d a r e y o u r c h i l d r e n?

16   A.   T w o , s i x , e l e v e n, a n d t w e l v e.

17   Q.   Y o u r c h i l d w h o i s t w e l v e, i s t h a t a b o y o r a

18        g i r l?

19   A.   A g i r l.

20   Q.   A n d w h a t' s h e r n a m e?

21   A.

22   Q.   I s h e r l a s t n a m e G r e e n?

23   A.   It is.




                                     Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR       Document 252-38           Filed 02/07/25    Page 21 of 95


                                                                                           20



 1   Q.   Does                Green live with you?

 2   A.   Yes.

 3   Q.   W h e r e d o y o u c u r r e n t l y l i v e?

 4   A.   A t 1 2 0 G r o t e S t r e e t.

 5   Q.   G r o v e S t r e e t?

 6   A.   G r o t e, G - R - O - T - E , 1 4 2 0 7.

 7   Q.   What cross street is that closest to?

 8   A.   B u s h.

 9   Q.   G r o t e a n d B u s h.        Is your daughter                      in

10        s c h o o l?

11   A.   Yes.

12   Q.   W h e r e d o e s s h e a t t e n d s c h o o l?

13   A.   T a p e s t r y C h a r t e r S c h o o l.

14   Q.   T h a t' s a c l i e n t o f o u r l a w f i r m.             Your child who

15        i s e l e v e n, h o w o l d i s s h e - -

16   A.   It's a he.

17   Q.   O r i s i t a b o y o r a g i r l?               I a p o l o g i z e, I s k i p p e d

18        a s t e p.

19   A.   He.

20   Q.   It's a he.           S o w h a t i s y o u r e l e v e n- y e a r- o l d s o n ' s

21        n a m e?

22   A.                  G r e e n.

23   Q.   And does he live with you?




                                      Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR         Document 252-38     Filed 02/07/25       Page 22 of 95


                                                                                        21



 1   A.   Yes.

 2   Q.   W h e r e d o e s h e a t t e n d s c h o o l?

 3   A.   R E A C H A c a d e m y C h a r t e r S c h o o l.

 4   Q.   Y o u r c h i l d w h o i s s i x , i s t h a t a b o y o r a g i r l?

 5   A.   A boy.

 6   Q.   W h a t' s h i s n a m e?

 7   A.                     G r e e n.

 8   Q.   What grade is your daughter                                  in?

 9   A.   S e v e n.

10   Q.   What grade is                         in?

11   A.   Fifth.

12   Q.   Where does                        a t t e n d s c h o o l?

13   A.   R E A C H A c a d e m y C h a r t e r S c h o o l.

14   Q.   And what grade is he in?

15   A.   S e c o n d.

16   Q.   And your child that is two, is it a boy or a

17        g i r l?

18   A.   A g i r l.

19   Q.   I s s h e c u r r e n t l y i n d a y c a r e?

20   A.   She is.

21   Q.   W h a t' s h e r n a m e?

22   A.                G r e e n.

23   Q.   Any other children besides the four we've talked




                                    Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR      Document 252-38        Filed 02/07/25      Page 23 of 95


                                                                                           22



 1        a b o u t?

 2   A.   No.

 3   Q.   A n t h o n y G r e e n, w h a t d o e s h e d o f o r a l i v i n g?

 4   A.   D r i v e t r u c k s, h e d e l i v e r s c o n s t r u c t i o n m a t e r i a ls .

 5   Q.   A n y o t h e r c h i l d r e n w h o a r e n' t b i o l o g i c a l l y

 6        r e l a t e d t o y o u t h a t y o u s u p p o r t?

 7   A.   No.

 8   Q.   Y o u r G r o t e S t r e e t a d d r e s s, h o w l o n g h a v e y o u

 9        l i v e d t h e r e?

10   A.   F o r t e n d a y s - - w e l l, n i n e d a y s.

11   Q.   Oh, wow.         R e c e n t m o v e.    O k a y.    Do you own or

12        r e n t?

13   A.   R e n t.

14   Q.   H o w m u c h i s y o u r m o n t h l y r e n t?

15   A.   O n e t h o u s a n d t h r e e h u n d r e d d o l l a r s a m o n t h.

16   Q.   D o y o u p a y t h a t b y y o u r s e l f?

17   A.   Yes.

18   Q.   Where did you live before your Grote Street

19        a d d r e s s?

20   A.   2 1 7 W e s t T u p p e r S t r e e t.

21   Q.   H o w l o n g d i d y o u l i v e o n W e s t T u p p e r?

22   A.   F o r s i x t y d a y s.

23   Q.   B y t h e w a y , y o u r G r o t e S t r e e t a d d r e s s, i s t h a t a n




                                  Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR         Document 252-38       Filed 02/07/25   Page 24 of 95


                                                                                          23



 1        apartment or is it --

 2   A.   I t ' s a n a p a r t m e n t, l o w e r.

 3   Q.   O k a y.     S o i t ' s m u l t i p l e u n i t s?

 4   A.   U p a n d d o w n.

 5   Q.   O k a y.     S o t h e r e' s - -

 6   A.   A n d I l i v e d o w n.

 7   Q.   The bottom story is one unit and the second story

 8        i s a n o t h e r u n i t?

 9   A.   Yes.

10   Q.   2 1 7 W e s t T u p p e r S t r e e t, w h a t k i n d o f a r e s i d e n c e

11        w a s t h a t?

12   A.   T h e s a m e, I l i v e d u p t h o u g h.

13   Q.   O k a y.     H o w m u c h d i d y o u p a y f o r r e n t?

14   A.   T w e l v e f i f t y.

15   Q.   W h y d i d y o u m o v e?

16   A.   B e c a u s e t h e n e i g h b o r, c o n f l i c t w i t h t h e n e i g h b o r

17        downstairs every day.

18   Q.   Y o u w e r e f i g h t i n g w i t h t h e n e i g h b o r?

19   A.   B a s i c a l l y.

20   Q.   D i s a g r e e m e n t s?

21   A.   Yes.

22   Q.   W h a t w e r e t h e y o v e r?

23   A.   She had a different problem every day.




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Case 1:18-cv-00719-CCR      Document 252-38        Filed 02/07/25    Page 25 of 95


                                                                                         24



 1   Q.   A problem with you?

 2   A.   I g u e s s.     N o i s e, w h e n I f i r s t m o v e d t h e r e, t h e

 3        first day I moved there she called the cops on

 4        me.     And she would just harass us almost every

 5        day.

 6   Q.   W h a t w a s h e r n a m e?

 7   A.   I t h i n k h e r n a m e i s M a m a.

 8   Q.   M a m a, M - A - M - A ?

 9   A.   Um-hum.

10   Q.   D o y o u k n o w h e r l a s t n a m e?

11   A.   It starts with a K, but no.                     K e v i n, K e v o n o r

12        s o m e t h i n g l i k e t h a t.    I don't really know

13        e x a c t l y.

14   Q.   Did you decide to leave or were you asked to

15        l e a v e?

16   A.   D e c i d e d t o l e a v e.

17   Q.   D i d y o u h a v e t o c u t a l e a s e s h o r t?

18   A.   No.     T h e y t r a n s f e r r e d m e t o a n o t h e r p r o p e r t y.

19   Q.   W h o i s t h e y?

20   A.   T h e l a n d l o r d.

21   Q.   W h o i s t h e l a n d l o r d?

22   A.   F r e e W i l l R e n t a l s.

23   Q.   D o y o u k n o w w h e r e F r e e W i l l R e n t a l s' h e a d q u a r t e r s




                                     Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR       Document 252-38     Filed 02/07/25     Page 26 of 95


                                                                                       25



 1        is?

 2   A.   1 6 2 5 N i a g a r a S t r e e t, i f i t ' s n o t 1 6 2 5, i t ' s

 3        s o m e t h i n g s i m i l a r.

 4   Q.   How long have you rented from properties owned by

 5        F r e e W i l l R e n t a l s?

 6   A.   S i n c e I t h i n k I m o v e d t h e r e i n O c t o b e r, s o s i n c e

 7        O c t o b e r.

 8   Q.   So the first time you rented from Free Will

 9        Rentals was when you moved into 217 West Tupper

10        S t r e e t?

11   A.   Yes.

12   Q.   W h e r e d i d y o u l i v e b e f o r e W e s t T u p p e r S t r e e t?

13   A.   7 8 A r n o l d S t r e e t.

14   Q.   A r n o l d?

15   A.   (Indicating yes.)

16   Q.   H o w l o n g d i d y o u l i v e t h e r e?

17   A.   F o r t h r e e y e a r s.

18   Q.   D i d y o u l i v e t h e r e w i t h y o u r t h r e e c h i l d r e n?

19   A.   A n d t h e n t u r n e d f o u r, y e s .     A n d A n t h o n y.

20   Q.   Anthony lived at the Arnold Street address with

21        you?

22   A.   Yes.

23   Q.   Did Anthony live at the West Tupper Street




                                   Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR       Document 252-38      Filed 02/07/25     Page 27 of 95


                                                                                          26



 1        address with you?

 2   A.   Yes.

 3   Q.   And now Anthony has since found another place to

 4        l i v e?

 5   A.   W e l l, y e s .     H i s f a t h e r' s p l a c e.

 6   Q.   W h y i s t h a t?

 7   A.   It's what works best for the both of us.

 8   Q.   O k a y.     Did Anthony feud with your downstairs

 9        n e i g h b o r?

10   A.   Yes.

11   Q.   What cross section was your 78 Arnold Street

12        a d d r e s s c l o s e s t t o , c r o s s s t r e e t, I a p o l o g i z e?

13   A.   I t ' s j u s t l i k e t w o b l o c k s, s o i t w a s b e t w e e n H o y t

14        a n d P a r k d a l e.

15   Q.   O k a y.

16   A.   I m e a n, A r n o l d i s o n l y a t w o - b l o c k s t r e e t.

17   Q.   R i g h t.    I u s e d t o l i v e L a f a y e t t e a n d B a y n e s, s o I

18        u s e d t o l i v e p r e t t y c l o s e t o t h e r e.      Fair to say,

19        t h a t' s o n t h e W e s t S i d e o f B u f f a l o?

20   A.   Yes.

21   Q.   W h a t w a s y o u r r e n t a t A r n o l d S t r e e t?

22   A.   N i n e h u n d r e d d o l l a r s.

23   Q.   D i d y o u a n d A n t h o n y c o n t r i b u t e t o t h a t j o i n t l y?




                                   Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR       Document 252-38       Filed 02/07/25    Page 28 of 95


                                                                                         27



 1   A.   Yes.

 2   Q.   D i d i t e v e r c h a n g e?

 3   A.   S o m e t i m e s I d i d i t b y m y s e l f.

 4   Q.   I m e a n t d i d t h e a m o u n t o f r e n t e v e r c h a n g e.

 5   A.   No.

 6   Q.   I t r e m a i n e d n i n e h u n d r e d t h e f u l l t h r e e y e a r s?

 7   A.   It did.

 8   Q.   B e f o r e A r n o l d S t r e e t, w h e r e d i d y o u l i v e?

 9   A.   I l i v e d o n B r u n sw i c k S t r e e t.       I can't remember

10        t h e a d d r e s s.      I think it was 186.

11   Q.   What cross street was it closest to?

12   A.   W o h l e r s.

13   Q.   W h a t a r e a o f B u f f a l o i s B r u n sw i c k i n ?

14   A.   E a s t S i d e.

15   Q.   H o w l o n g d i d y o u l i v e t h e r e?

16   A.   F o r l i k e t h i r t y d a y s.

17   Q.   A l l r i g h t.       W h y d i d y o u m o v e?

18   A.   I f o u n d A r n o l d S t r e e t, a n d i t w a s a b e t t e r p l a c e.

19   Q.   W h a t m a d e i t a b e t t e r p l a c e?

20   A.   B e c a u s e t h e r e w a s n' t s o m e b o d y l i v i n g i n t h e

21        b a s e m e n t.

22   Q.   O h , I s h o u l d h a v e a s k e d t h i s.       D i d y o u l i v e, w a s

23        it just you and your family at the Arnold Street




                                    Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR        Document 252-38       Filed 02/07/25   Page 29 of 95


                                                                                       28



 1        a d d r e s s?

 2   A.   A r n o l d S t r e e t o r B r u n sw i c k?    A r n o l d S t r e e t?

 3   Q.   A r n o l d S t r e e t.

 4   A.   I l i v e d u p s t a i r s, s o I h a d n e i g h b o r s d o w n s t a i r s.

 5   Q.   O k a y.     I d o n ' t k n o w i f I a s k e d.       Why did you move

 6        f r o m A r n o l d S t r e e t t o T u p p e r S t r e e t?

 7   A.   D i d n' t e x t e n d m y l e a s e.

 8   Q.   W h y d i d n' t t h e y e x t e n d y o u r l e a s e?

 9   A.   Because there was a big problem with Section 8

10        i n s p e c t i o n, a n d r e n t p a y m e n t s d u e t o C O V I D.

11   Q.   W h a t i s a S e c t i o n 8 i n s p e c t i o n?

12   A.   Is when you qualify for rental assistance and

13        they inspect the place and it has to be up to a

14        certain living standard in order for them to

15        a p p r o v e t o p a y p a r t o f y o u r r e n t.

16   Q.   Was it found that your living space was not up to

17        t h e r e q u i r e d s t a n d a r d?

18   A.   Yes.

19   Q.   Do you recall why?

20   A.   I t w a s t w e n t y- e i g h t v i o l a t i o n s.   I don't know

21        s p e c i f i c a l l y.

22   Q.   D o y o u r e c a l l w h a t a n y o f t h e v i o l a t i o n s w e r e?

23   A.   N o t s p e c i f i c a l l y o f f h a n d.




                                     Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR        Document 252-38           Filed 02/07/25   Page 30 of 95


                                                                                           29



 1   Q.   Did you challenge any of the findings of

 2        v i o l a t i o ns ?

 3   A.   No.        I ' m n o t t h e o w n e r.        T h a t g o e s t o t h e o w n e r.

 4   Q.   O k a y.      So you were -- did the owner evict you

 5        b e c a u s e v i o l a t i o n s w e r e f o u n d?

 6   A.   I d i d n' t g e t e v i c t e d.         I l e f t.

 7   Q.   O k a y.      Y o u l e f t o n y o u r o w n a c c o r d?

 8   A.   Yes.

 9   Q.   A f t e r t h e v i o l a t i o n s w e r e f o u n d?

10   A.   Yes.

11   Q.   You also mentioned you were behind in rent at

12        A r n o l d S t r e e t?

13   A.   Yes.

14   Q.   D o y o u r e c a l l e x a c t l y h o w m u c h y o u o w e d i n r e n t?

15   A.   No.

16   Q.   D o y o u r e c a l l h o w m a n y m o n t h s b e h i n d y o u w e r e?

17   A.   Two.

18   Q.   D o y o u r e c a l l w h o y o u r l a n d l o r d w a s t h e r e?

19   A.   S h e i l a H i n t.

20   Q.   S a y t h a t a g a i n.

21   A.   S h e i l a H i n t.

22   Q.   S h e i l a H i n t.       A l l r i g h t.     Going back to your

23        B r u n sw i c k S t r e e t a d d r e s s, y o u l i v e d t h e r e f o r




                                     Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR        Document 252-38         Filed 02/07/25    Page 31 of 95


                                                                                         30



 1        t h i r t y d a y s?

 2   A.   R i g h t.

 3   Q.   And you said you moved from there to Arnold

 4        S t r e e t b e c a u s e i t w a s a b e t t e r d e a l o n r e n t?

 5   A.   N o t r e a l l y, b u t i t w a s o n l y a f i f t y d o l l a r

 6        d i f f e r e n c e, b u t i t w a s s o m e b o d y l i v i n g i n t h e

 7        b a s e m e n t.

 8   Q.   Someone was living in the basement of the

 9        B r u n k sw i c k S t r e e t a d d r e s s?

10   A.   Yes.

11   Q.   O k a y.       A n d y o u d i d n' t - -

12   A.   No.        I d i d n' t k n o w t h a t.        I ' m s o r r y.    You can

13        f i n i s h.

14   Q.   Yes.         What about having a person living in the

15        b a s e m e n t m a d e y o u w a n t t o m o v e?

16   A.   I h a v e c h i l d r e n a n d t h a t i s w e i r d.

17   Q.   O k a y.       Why is it different than having someone

18        l i v e i n a d i f f e r e n t u n i t o f t h e h o u s e?

19   A.   B e c a u s e a b a s e m e n t i s a b a s e m e n t, a n d I d i d n' t

20        k n o w a n y t h i n g a b o u t t h a t.       I went in the basement

21        f o r t h e g a s c o m p a n y, b e c a u s e i t w a s p a d l o c k e d,

22        and I used to hear people back and forth in the

23        d r i v e w a y, b u t n o b o d y l i v e d d o w n s t a i r s.     So one




                                   Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR       Document 252-38      Filed 02/07/25      Page 32 of 95


                                                                                         31



 1        day I went in the basement and it was a whole

 2        s e t u p d o w n t h e r e a n d i t j u s t l o o k e d w e i r d.

 3   Q.   O k a y.     So someone was living in the basement who

 4        a c t u a l l y d i d n' t r e n t?

 5   A.   I d o n ' t k n o w t h e i r a g r e e m e n t w i t h t h e l a n d l o r d,

 6        b u t t h a t' s n o t a h o u s e, i t ' s t h e b a s e m e n t.

 7   Q.   O k a y.     You don't know if they were allowed to be

 8        t h e r e?

 9   A.   I d o n ' t k n o w.

10   Q.   A l l r i g h t.    A n d t h a t m a d e y o u u n c o m f o r t a b l e?

11   A.   Yes.

12   Q.   W h e r e d i d y o u l i v e b e f o r e B r u n sw i c k S t r e e t?

13   A.   A c r o s s t h e s t r e e t, a t 1 7 5 B r u n sw i c k B o u l e v a r d.

14   Q.   H o w l o n g d i d y o u l i v e t h e r e?

15   A.   I m o v e d t h e r e i n F e b r u a r y o f 2 0 1 7, a y e a r o r

16        m o r e.     I m o v e d t h e r e i n 2 0 1 7, i n F e b r u a r y.

17   Q.   A n d y o u l i v e d t h e r e f o r a p p r o x i m a t e l y a y e a r?

18   A.   A l i t t l e m o r e, y e a h.

19   Q.   O k a y.     W h o d i d y o u l i v e t h e r e w i t h?

20   A.   M e a n d m y k i d s.      T h r e e k i d s a t t h e t i m e.

21   Q.   Did                 live with you?

22   A.   No.

23   Q.   Where did                     l i v e a t t h e t i m e?




                                  Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR      Document 252-38         Filed 02/07/25   Page 33 of 95


                                                                                     32



 1   A.   I d o n ' t k n o w.

 2   Q.   W a s h e i n B u f f a l o?

 3   A.   Yes.

 4   Q.   Do you know generally where he lived and you just

 5        can't remember the address or you just don't know

 6        w h e r e h e l i v e d?

 7   A.   I j u s t d o n ' t k n o w.

 8   Q.   O k a y.    H o w m u c h w a s y o u r r e n t a t 1 7 5 B r u n sw i c k?

 9   A.   S e v e n h u n d r e d.

10   Q.   W h y d i d y o u m o v e a c r o s s t h e s t r e e t?

11   A.   Because the landlord sold the house and they

12        wanted to move in.

13   Q.   The person who bought the house wanted to move in

14        it?

15   A.   Yes.

16   Q.   W h o w a s t h e l a n d l o r d?

17   A.   I t h i n k h i s n a m e w a s K e n n e t h Y o u n g.

18   Q.   S o b e f o r e 1 7 5 B r u n sw i c k, w h e r e d i d y o u l i v e?

19   A.   6 8 6 N o r t ha m p t o n S t r e e t.

20   Q.   What cross street is that closest to?

21   A.   N o r t h P a r a d e.

22   Q.   I s t h a t i n t h e C i t y o f B u f f a l o?

23   A.   Yes.




                                     Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR       Document 252-38      Filed 02/07/25    Page 34 of 95


                                                                                        33



 1   Q.   What area of the City of Buffalo is that in?

 2   A.   O n t h e E a s t S i d e.

 3   Q.   H o w l o n g d i d y o u l i v e t h e r e?

 4   A.   S e v e n m o n t h s.

 5   Q.   W h a t w a s t h e r e a s o n y o u l e f t?

 6   A.   B e c a u s e I f o u n d B r u n s w i c k, i t w a s b i g g e r, i t w a s

 7        o n l y a t w o b e d r o o m r e a r a p a r t m e n t, s o B r u n sw i c k

 8        w a s w a y m o r e s u i ta b l e.

 9   Q.   W h o d i d y o u l i v e a t N o r t h a m p t o n w i t h?

10   A.   M e a n d m y k i d s.

11   Q.   Did                  l i v e w i t h y o u t h e r e?

12   A.   No.

13   Q.   H o w m u c h d i d y o u p a y f o r r e n t?

14   A.   S e v e n s i x t y - f i v e.

15   Q.   B e f o r e y o u l i v e d a t N o r t h a m p t o n S t r e e t, w h e r e d i d

16        y o u l i v e?

17   A.   A t 5 3 E a r l.

18   Q.   H o w l o n g d i d y o u l i v e t h e r e?

19   A.   M a y b e t h r e e y e a r s.

20   Q.   What cross street is that closest to?

21   A.   I t ' s b e t w e e n B e s t a n d H i g h, i t ' s o n l y a o n e b l o c k

22        s t r e e t.

23   Q.   I s t h a t o n t h e E a s t S i d e?




                                   Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR       Document 252-38         Filed 02/07/25   Page 35 of 95


                                                                                         34



 1   A.   It is.

 2   Q.   H o w m u c h r e n t d i d y o u p a y t h e r e?

 3   A.   L i k e f o u r h u n d r e d b u c k s.

 4   Q.   W h o d i d y o u l i v e t h e r e w i t h?

 5   A.                 a n d t w o k i d s, t u r n e d i n t o t h r e e.

 6   Q.   D o y o u r e c a l l w h y y o u m o v e d?

 7   A.   No.      N o t a s p e c i f i c r e a s o n.

 8   Q.   D o y o u r e m e m b e r, d i d y o u t h i n k t h e N o r t h a m p t o n

 9        a d d r e s s w a s a b e t t e r p l a c e t o l i v e?

10   A.   No.      W e l l, i t w a s c o n v e n i e n t.

11   Q.   W h y w a s i t c o n v e n i e n t?

12   A.   B e c a u s e I n e e d e d t o m o v e.

13   Q.   W h y d i d y o u n e e d t o m o v e?

14   A.   I t w a s j u s t m a n y r e a s o n s.        I t w a s a f e w r e a s o n s.

15   Q.   W h a t w e r e t h e r e a s o n s?

16   A.                 a n d h i s d a d w a s n' t g e t t i n g a l o n g, m e a n d

17                      w a s n' t g e t t i n g a l o n g.     It was feud with

18        t h e i n - l a w s, h i s f a t h e r' s i n - l a w s, s o I m o v e d - -

19        w e l l, y e a h.      I m o v e d.

20   Q.   And                  d i d n' t m o v e w i t h y o u t o t h e

21        N o r t h a m p t o n a d d r e s s?

22   A.   No.

23   Q.   P r i o r t o 5 3 E a r l, w h e r e d i d y o u l i v e?




                                   Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR        Document 252-38         Filed 02/07/25     Page 36 of 95


                                                                                              35



 1   A.   2 8 4 L a n gf i e l d D r i v e.

 2   Q.   How long did you live there for?

 3   A.   I m o v e d t h e r e i n D e c e m b e r o f 2 0 1 1.

 4   Q.   So you were there for --

 5   A.   I w a n t t o s a y t w o y e a r s m a y b e.            I moved out in

 6        2 0 1 3.      I think it was 2013 or '14, somewhere

 7        a r o u n d t h e r e.       I d o n ' t r e m e m b e r s p e c i f i c a l l y.

 8   Q.   H o w o l d w e r e y o u i n 2 0 1 3?

 9   A.   T w e n t y- t h r e e.

10   Q.   W h o d i d y o u l i v e a t 2 8 4 L a n gf i e l d D r i v e w i t h?

11   A.   T w o k i d s.

12   Q.   Did you live there with                                   too or just the

13        t w o k i d s?

14   A.   No.        J u s t t w o k i d s.

15   Q.   W h a t w a s y o u r r e n t t h e r e?

16   A.   S u b s i d i z e d, s o i t d e p e n d e d o n h o w m u c h I m a d e.

17   Q.   Can you estimate what the approximate amount was?

18   A.   No.

19   Q.   T h e a p p r o x i m a t e a v e r a g e p e r m o n t h?

20   A.   No.

21   Q.   O k a y.      Would it have been more than five hundred

22        e v e r?

23   A.   No.        N o t e v e r.




                                      Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR      Document 252-38        Filed 02/07/25     Page 37 of 95


                                                                                          36



 1   Q.   A l w a y s u n d e r f i v e h u n d r e d?

 2   A.   Yes.

 3   Q.   E v e r a r o u n d f i v e h u n d r e d?

 4   A.   No.

 5   Q.   A l w a y s l o w e r?

 6   A.   I ' m n o t s u r e e x a c t l y, I d o n ' t k n o w.

 7   Q.   C e r t a i n l y n e v e r h i g h e r t h a n f i v e h u n d r e d t h o u g h?

 8   A.   No.

 9   Q.   W h a t c r o s s s t r e e t i s L a n gf i e l d c l o s e t o ?

10   A.   I t w a s i n b e t w e e n - - w e l l, i t ' s o n l y - - i n

11        b e t w e e n O r l e a n s a n d E g g e r t, w a s t h a t E g g e r t,

12        y e a h, I t h i n k E g g e r t.      N o , E d i s o n.    N o t E g g e r t.

13        Edison and Orleans -- no.                      Edison and Suffolk are

14        t h e t w o s t r e e t s t h a t i t ' s i n b e t w e e n, a n d i t ' s

15        l i k e a l o n g s t r e t c h o f a p a r t m e n t s.

16   Q.   I s t h a t o n t h e E a s t S i d e o f B u f f a l o?

17   A.   Yes.

18   Q.   H o w a b o u t b e f o r e L a n gf i e l d, w h e r e d i d y o u l i v e?

19   A.   I d o n ' t r e m e m b e r.    I lived with my mom.

20   Q.   O k a y.   Is Langfield the first time that you lived

21        away from --

22   A.   Yes.

23   Q.   L e t m e f i n i s h t h e q u e s t i o n.




                                   Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR       Document 252-38        Filed 02/07/25   Page 38 of 95


                                                                                      37



 1   A.   I ' m s o r r y.

 2   Q.   T h a t' s o k a y.       T h a t' s o k a y.    Is Langfield the

 3        f i r s t t i m e y o u l i v e d a w a y f r o m y o u r m o t h e r?

 4   A.   Yes.

 5   Q.   O k a y.    So have we covered basically everywhere

 6        y o u ' v e l i v e d a s a n a d u l t?

 7   A.   Yes.

 8   Q.   A l l r i g h t.       D i d y o u g r o w u p h e r e i n B u f f a l o?

 9   A.   Yes.

10   Q.   Did you always live in the City of Buffalo

11        growing up?

12   A.   Yes.

13   Q.   W h e r e d i d y o u a t t e n d s c h o o l?

14   A.   I went to -- grammar school I went to School 38,

15        a n d t h e n I w e n t t o C a m p u s E a s t, w h i c h c h a n g e d

16        i t ' s n a m e t o D r . L y d i a T . W r i g h t, S c h o o l 8 9 , I

17        g r a d u a t e d g r a m m a r s c h o o l t h e r e.   I graduated high

18        s c h o o l f r o m E a s t H i g h S c h o o l.

19   Q.   W h a t y e a r d i d y o u g r a d u a t e?

20   A.   H i g h s c h o o l?

21   Q.   Yes.

22   A.   2 0 0 8.

23   Q.   D i d y o u g o t o c o l l e g e?




                                    Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR        Document 252-38        Filed 02/07/25   Page 39 of 95


                                                                                       38



 1   A.   I g r a d u a t e d c o l l e g e i n 2 0 1 7.

 2   Q.   W h e r e d i d y o u g r a d u a t e c o l l e g e f r o m?

 3   A.   B r y a n t a n d S t r a t t o n.

 4   Q.   D i d y o u r e c e i v e y o u r B a c h e l o r' s d e g r e e f r o m

 5        B r y a n t a n d S t r a t t o n?

 6   A.   A s s o c i a t e' s .

 7   Q.   W h a t d i d y o u g e t y o u r A s s o c i a t e' s d e g r e e i n ?

 8   A.   M e d i c a l a s s i s t i n g.

 9   Q.   I n 2 0 0 8 w h e n y o u g r a d u a t e d h i g h s c h o o l, d i d y o u

10        a t t e n d a n y c o l l e g e, u n i v e r s i t y o r - -

11   A.   Yes.

12   Q.   - - j u n i o r c o l l e g e?

13   A.   I w e n t t o M e d a i l l e C o l l e g e f o r t w o s e m e s t e r s.

14   Q.   R i g h t a f t e r g r a d u a t i n g?

15   A.   Yes.

16   Q.   S o t h e f a l l o f 2 0 0 8?

17   A.   Yes.

18   Q.   D o y o u r e c a l l w h y y o u d i d n' t f i n i s h?

19   A.   Yes.

20   Q.   Why?

21   A.   B e c a u s e I d i d n' t k n o w h o w t o d o f i n a n c i a l a i d a n d

22        I d i d n' t h a v e n o s u p p o r t.

23   Q.   D i d y o u f a i l a n y c l a s s e s?




                                   Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR         Document 252-38          Filed 02/07/25   Page 40 of 95


                                                                                         39



 1   A.   Two.

 2   Q.   I n t h e s a m e s e m e s t e r o r i n d i f f e r e n t s e m e s t e r s?

 3   A.   Yes.         T h e s a m e s e m e s t e r.

 4   Q.   W a s i t t h e f i r s t o r s e c o n d s e m e s t e r?

 5   A.   T h e s e c o n d.

 6   Q.   D i d y o u h a v e a s c h o l a r s h i p t o g o t o M e d a i l l e?

 7   A.   Yes.

 8   Q.   W a s i t t a k e n a w a y w h e n y o u f a i l e d t h e c l a s s e s?

 9   A.   No.        I t w a s n' t a f u l l r i d e, i t w a s j u s t a p a r t i a l

10        n u m b e r.

11   Q.   O k a y.       Was it a voluntary choice to stop

12        attending Medaille after two semesters --

13   A.   Yes.

14   Q.   -- or was it something that the school did?

15   A.   S o r r y.      V o l u n t a r y.

16   Q.   O k a y.       In between Medaille and Bryant and

17        S t r a t t o n, d i d y o u a t t e n d a n y o t h e r p l a c e s o f

18        h i g h e r e d u c a t i o n, c o l l e g e s, u n i v e r s i t i e s?

19   A.   ECC.

20   Q.   When did you attend ECC?

21   A.   I k n o w I a t t e n de d i n 2 0 1 2, I a t t e m p t e d, a n d t h e n

22        I dropped out.

23   Q.   How many semesters did you spend at ECC?




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Case 1:18-cv-00719-CCR        Document 252-38      Filed 02/07/25    Page 41 of 95


                                                                                        40



 1   A.   Just one.           One or two.          I d o n ' t k n o w e x a c t l y.    I

 2        d o n ' t r e m e m b e r.

 3   Q.   Can you tell me why you dropped out?

 4   A.   I t w a s t o o h a r d, I h a d t w o k i d s.

 5   Q.   D i d y o u f i n i s h a n y c l a s s e s?

 6   A.   L i k e I d o n ' t u n d e r s t a n d f i n i s h.

 7   Q.   Meaning did you take a final exam and receive a

 8        g r a d e?

 9   A.   Yes.

10   Q.   D i d y o u f a i l a n y c l a s s e s?

11   A.   One.

12   Q.   H o w m a n y c l a s s e s d i d y o u t a k e?

13   A.   I d o n ' t k n o w e x a c t l y.

14   Q.   Was it more than two?

15   A.   Yes.         I w a s f u l l- t i m e.

16   Q.   W a s i t a t l e a s t f o u r?

17   A.   A t l e a s t - - t h r e e.       I'm not sure if it was four

18        o r m o r e.

19   Q.   W h a t y e a r d i d y o u s t a r t a t B r y a n t a n d S t r a t t o n?

20   A.   I n 2 0 1 4.

21   Q.   How many years did it take you to get your

22        A s s o c i a t e' s d e g r e e f r o m B r y a n t a n d S t r a t t o n?

23   A.   T h r e e c a l e n d a r y e a r s.




                                   Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR      Document 252-38        Filed 02/07/25    Page 42 of 95


                                                                                           41



 1   Q.   H o w m a n y s e m e s t e r s, i n o t h e r w o r d s - -

 2   A.   I d o n ' t k n o w.

 3   Q.   -- did you take any semesters off?

 4   A.   Yes.

 5   Q.   W h y w a s t h a t?

 6   A.   Just being a mom.

 7   Q.   So what year was it when you finished your

 8        A s s o c i a t e' s d e g r e e?

 9   A.   2 0 1 7.

10   Q.   W h e n y o u w e r e w o r k i n g t o w a r d s y o u r A s s o c i a t e' s

11        d e g r e e, d i d y o u h a v e a n y j o b o r e m p l o y m e n t?

12   A.   Yes.

13   Q.   W h e r e d i d y o u w o r k?

14   A.   W h e n I f i n i s h e d?

15   Q.   W h i l e y o u w e r e t h e r e.

16   A.   W h i l e I w a s t h e r e, I w e n t t o - - I w o r k e d f o r

17        K a l e i d a.

18   Q.   W h a t d i d y o u d o f o r K a l e i d a?

19   A.   I was a CNA.

20   Q.   W h a t' s a C N A ?

21   A.   A c e r t i f i e d n u r s e' s a s s i s t a n t.

22   Q.   H o w d i d y o u b e c o m e a c e r t i f i e d n u r s e' s a s s i s t a n t?

23   A.   Y o u g o t o c l a s s e s f o r t h a t, a n d y o u g e t c e r t i f i e d




                                  Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR        Document 252-38        Filed 02/07/25   Page 43 of 95


                                                                                         42



 1        t h r o u g h t h e s t a t e.

 2   Q.   W h e r e d i d y o u a t t e n d c l a s s e s?

 3   A.   E O C , t h e E q u a l O p p o r t u n i t y C e n t e r o f B u f f a l o.

 4   Q.   When did you attend those classes to get that

 5        c e r t i f i c a t i o n?

 6   A.   I n 2 0 1 0.

 7   Q.   A f t e r y o u l e f t M e d a i l l e?

 8   A.   Yes.

 9   Q.   But before you went to ECC?

10   A.   Yes.

11   Q.   W h e n d i d y o u s t a r t w o r k i n g a t K a l e i d a?

12   A.   I n 2 0 1 3.

13   Q.   Did you work at Kaleida the entirety of the time

14        y o u w e r e w o r k i n g t o w a r d s y o u r A s s o c i a t e' s d e g r e e?

15   A.   No.

16   Q.   W h e n d i d y o u s t o p w o r k i n g a t K a l e i d a?

17   A.   I n D e c e m b e r o f 2 0 1 5.

18   Q.   D o y o u r e c a l l w h y y o u s t o p p e d w o r k i n g t h e r e?

19   A.   I g o t f i r e d f o r t i m e a n d a t t e n d a n c e.

20   Q.   F o r w h a t?

21   A.   T i m e a n d a t t e n d a n c e p o l i c y.

22   Q.   M e a n i n g y o u m i s s e d t o o m a n y d a y s o f w o r k?

23   A.   Yes.




                                       Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR        Document 252-38       Filed 02/07/25    Page 44 of 95


                                                                                          43



 1   Q.   D o y o u r e c a l l w h y y o u m i s s e d w o r k?

 2   A.   S o m e t i m e s I d i d n' t h a v e a v e h i c l e, s o m e t i m e s I

 3        d i d n' t f e e l g o o d.

 4   Q.   Do you recall how many days you had to miss to be

 5        i n v i o l a t i o n o f t h e p o l i c y?

 6   A.   N o t s p e c i f i c a l l y, b e c a u s e t h e y h a v e a n a t t e n d a n c e

 7        p o l i c y t h a t y o u g e t c e r t a i n p o i n t s a n d m a r k e r s,

 8        a n d t h e y g o b y d a t e s a n d t i m e p e r i o d s, s o n o t - -

 9        I d o n ' t r e m e m b e r s p e c i f i c a l l y.

10   Q.   H o w m a n y d a y s d i d y o u m i s s?

11   A.   I d o n ' t k n o w s p e c i f i c a l l y.

12   Q.   W a s i t m u l t i p l e w e e k s?

13   A.   No.        I t w a s - - I d o n ' t u n d e r s t a n d.

14   Q.   D i d y o u m i s s m u l t i p l e w e e k s o f w o r k?

15   A.   No.        You only get -- at the time I think it was

16        s e v e n i n a c a l e n d a r y e a r, t o m i s s u n e x c u s e d.

17   Q.   U n e x c u s e d a b s e n c es ?

18   A.   I t ' s a n e s t i m a t e, y e s .

19   Q.   How much were you paid in between 2013 and 2015

20        w h e n y o u w o r k e d f o r K a l e i d a?

21   A.   I d o n ' t r e m e m b e r.         I don't remember how much I

22        m a d e.

23   Q.   Were you paid a salary or were you paid an hourly




                                   Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR       Document 252-38     Filed 02/07/25   Page 45 of 95


                                                                                     44



 1        r a t e?

 2   A.   H o u r l y.

 3   Q.   Do you recall whether you made more than minimum

 4        w a g e?

 5   A.   I d i d m a k e m o r e t h a n m i n i m u m w a g e b a c k t h e n.

 6   Q.   At any point were you making more than fifteen

 7        d o l l a r s a n h o u r?

 8   A.   I d o n ' t r e m e m b e r.

 9   Q.   But certainly it was higher than minimum wage the

10        w h o l e t i m e?

11   A.   Yes, I believe so.

12   Q.   I n b e t w e e n 2 0 1 3 a n d 2 0 1 5, d i d y o u w o r k a n y w h e r e

13        else --

14   A.   Yes.

15   Q.   - - b e s i d e s K a l e i d a?

16   A.   I ' m s o r r y.

17   Q.   L e t m e f i n i s h t h e q u e s t i o n.   T h a t' s o k a y.   Did

18        you work anywhere else besides Kaleida in between

19        2 0 1 3 a n d 2 0 1 5?

20   A.   Yes.

21   Q.   W h e r e d i d y o u w o r k?

22   A.   I w o r k e d f o r N u r s ef i n d e r.

23   Q.   N u r s e?




                                   Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR        Document 252-38      Filed 02/07/25      Page 46 of 95


                                                                                       45



 1   A.   N u r s e f i n d e r.

 2   Q.   N u r s e f i n d e r.   W h a t i s N u r s ef i n d e r?

 3   A.   I t ' s a C N A t r a v e l a g e n c y c o m p a n y.       They hire CNAs

 4        t o g o t o d i f f e r e n t p l a c e s t h a t n e e d h e l p.

 5   Q.   What is a CNA?

 6   A.   A c e r t i f i e d n u r s e' s a s s i s t a n t.

 7   Q.   S o d i d y o u w o r k a s a n u r s e' s a s s i s t a n t o r w e r e

 8        y o u f i n d i n g n u r s e' s a s s i s t a n ts ?

 9   A.   I w o r k e d a s a n u r s e' s a s s i s t a n t.

10   Q.   A n d y o u w o u l d g o w h e r e y o u w e r e n e e d e d?

11   A.   Yes.

12   Q.   H o w l o n g d i d y o u w o r k t h e r e?

13   A.   F r o m 2 0 1 3 t o 2 0 1 6, o n a n d o f f .

14   Q.   A n d w h y d i d y o u s t o p?

15   A.   I g o t f i r e d.

16   Q.   H o w d i d y o u g e t f i r e d?

17   A.   Because they said that I used drugs during a drug

18        t e s t.

19   Q.   D i d y o u f a i l a d r u g t e s t?

20   A.   Yes.

21   Q.   W h a t d r u g s w e r e f o u n d i n y o u r s y s t e m?

22   A.   I t w a s n' t i n m y s y s t e m a t a l l .          I t w a s m y h a i r.

23   Q.   O k a y.    S o y o u h a d t o t a k e a h a i r f o l l i c l e t e s t?




                                   Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR         Document 252-38       Filed 02/07/25   Page 47 of 95


                                                                                         46



 1   A.   Yes.         I was getting bought from the agency out of

 2        my contract at Mercy Hospital to work for Mercy

 3        H o s p i t a l s p e c i f i c a l l y, a n d I h a d t o g o t h r o u g h

 4        t h e h i r i n g p r o c e s s f o r M e r c y H o s p i t a l, s o t h e y

 5        t o o k m y h a i r, a n d m y u r i n e, a n d t h e y s a i d t h a t m y

 6        h a i r c a m e b a c k f o r c o c a i n e p o s i t i v i t y i n 2 0 1 6.

 7   Q.   H a v e y o u u s e d c o c a i n e b e f o r e?

 8   A.   N e v e r.

 9   Q.   H a v e y o u u s e d d r u g s o f a n y k i n d b e f o r e?

10   A.   M a r i j u a n a.

11   Q.   D o y o u u s e m a r i j u a n a c u r r e n t l y?

12   A.   S o m e t i m e s.

13   Q.   Did you -- so was it Mercy Hospital that did the

14        d r u g t e s t?

15   A.   C a t h o l i c H e a l t h, y e s .

16   Q.   C a t h o l i c H e a l t h.   So Mercy Hospital is in the

17        C a t h o l i c H e a l t h S y s t e m?

18   A.   Yes.

19   Q.   O k a y.      A n d o n c e t h e d r u g t e s t w a s p o s i t i v e,

20        N u r s ef i n d e r f i r e d y o u ?

21   A.   Yes.

22   Q.   I see.         Did you try to challenge the findings of

23        the drug test at all?




                                   Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR        Document 252-38      Filed 02/07/25     Page 48 of 95


                                                                                        47



 1   A.   Yes.

 2   Q.   How?

 3   A.   W e l l, I t r i e d, b u t i t d i d n' t w o r k b e c a u s e i t w a s

 4        p r e - e m p l o y m e n t, a n d n o t l i k e a r a n d o m d r u g t e s t.

 5        I t w a s p r e - e m p l o y m e n t f o r C a t h o l i c H e a l t h.

 6   Q.   H o w d i d y o u t r y t o c h a l l e n g e i t t h o u g h?

 7   A.   I a s k e d i f I c o u l d r e t a k e t h e t e s t, I a s k e d i f i t

 8        w a s m i x e d u p w i t h a n y o n e e l s e, a n d i t w a s a l w a y s,

 9        the answer was always no.

10   Q.   Any other -- have you ever been arrested for drug

11        use?

12   A.   N e v e r.

13   Q.   Have you ever been arrested at all?

14   A.   No.

15   Q.   Anywhere else in between 2013 and 2016 that you

16        w o r k e d?

17   A.   Yep.         I w o r k e d f o r a t e m p a g e n c y, I w o r k e d f o r

18        SPS.

19   Q.   W h e n d i d y o u s t a r t w o r k i n g f o r t h e m?

20   A.   I n 2 0 1 6.       W h e n I g o t f i r e d f r o m N u r s ef i n d e r.

21   Q.   How long did you work -- what is the name of the

22        c o m p a n y?     I ' m s o r r y.

23   A.   SPS.




                                   Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR        Document 252-38        Filed 02/07/25   Page 49 of 95


                                                                                       48



 1   Q.   SPS.         H o w l o n g d i d y o u w o r k f o r t h e m?

 2   A.   F o r p r o b a b l y a f e w m o n t h s, n o t s u r e e x a c t l y h o w

 3        m a n y, b u t I k n o w I w o r k e d D e c e m b e r, J a n u a r y, a n d

 4        then I just gave it up.

 5   Q.   H o w a b o u t p r i o r t o w o r k i n g a t K a l e i d a i n 2 0 1 3,

 6        d i d y o u w o r k a n y w h e r e b e f o r e K a l e i d a?

 7   A.   J u s t N u r s ef i n de r .

 8   Q.   O k a y.      Did you --

 9   A.   Oh, yes, I did.                 Yes, I did.         I r e m e m b e r.   I

10        w o r k e d f o r - - i t ' s o n H a g e r.        I can't remember

11        t h e n a m e o f i t - - N i a g a r a L u t h e r a n.

12   Q.   W h a t i s N i a g a r a L u t h e r a n?

13   A.   I t ' s a n u r s i n g h o m e.

14   Q.   W h a t d i d y o u d o t h e r e?

15   A.   A CNA.

16   Q.   H o w l o n g d i d y o u w o r k t h e r e?

17   A.   F r o m 2 0 1 2 u n t i l 2 0 0 0 - - n o , n o t 2 0 1 2.        2010 until

18        2 0 1 2.

19   Q.   Did you start working there around the time you

20        g o t y o u r c e r t i f i c a t i o n?

21   A.   A f t e r.

22   Q.   D o y o u r e c a l l h o w m u c h y o u w e r e p a i d?

23   A.   I d o n ' t r e m e m b e r.




                                   Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR      Document 252-38       Filed 02/07/25    Page 50 of 95


                                                                                       49



 1   Q.   W h y d i d y o u s t o p w o r k i n g t h e r e?

 2   A.   I g o t f i r e d.

 3   Q.   W h y d i d y o u g e t f i r e d?

 4   A.   I w a s a r g u i n g w i t h a c o - w o r ke r .

 5   Q.   W h a t w e r e y o u a r g u i n g w i t h t h e c o - w o r k e r a b o u t?

 6   A.   Because she kept bullying me.

 7   Q.   How was she bullying you?

 8   A.   She was trying to intimidate me and scare me, and

 9        e m b a r r a s s m e e v e r y t i m e I c a m e t o w o r k.

10   Q.   How was she trying to intimidate you?

11   A.   B y c a l l i n g m e n a m e s, u s i n g h e r w e i g h t, a n d j u s t

12        t r i e d t o m a k e m e s c a r e d l i k e, I d o n ' t k n o w.

13   Q.   D i d y o u k n o w h e r b e f o r e w o r k i n g t h e r e?

14   A.   No.

15   Q.   D i d y o u d o a n y t h i n g t o p r o v o k e t h a t b e h a v i o r?

16   A.   No.

17   Q.   Do you have any indication as to why she behaved

18        that way towards you?

19   A.   No.

20   Q.   W a s s h e e v e r d i s c i p l i n e d?

21   A.   I d o n ' t k n o w.     I d o n ' t k n o w.

22   Q.   D i d y o u e v e r r e p o r t h e r b e h a v i o r t o a s u p e r v i s o r?

23   A.   No.




                                 Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR       Document 252-38       Filed 02/07/25    Page 51 of 95


                                                                                      50



 1   Q.   W a s i t o n e a r g u m e n t t h a t y o u g o t f i r e d o v e r?

 2   A.   Me, yes.         F i r e d, y e s .

 3   Q.   W a s t h e r e a p h y s i c a l a l t e r c a t i o n?

 4   A.   No.

 5   Q.   W a s i t a v e r b a l a r g u m e n t?

 6   A.   Yes.

 7   Q.   Did your supervisor or a supervisor see the

 8        v e r b a l a r g u m e n t?

 9   A.   No.

10   Q.   I t w a s r e p o r t e d t o t h e m?

11   A.   Yes.

12   Q.   Who reported it?

13   A.   I d o n ' t k n o w.

14   Q.   Is it possible that this individual reported it?

15   A.   I d o n ' t k n o w.

16   Q.   You don't know or not?

17   A.   I d o n ' t k n o w.

18   Q.   O k a y.    B y t h e w a y , w h a t' s t h i s i n d i v i d u a l' s n a m e?

19   A.   I d o n ' t r e m e m b e r.    It was a long time ago.

20   Q.   Prior to 2010 when you got your CNA, I guess in

21        between when you were at Medaille and getting

22        y o u r C N A , d i d y o u w o r k a n y w h e r e?

23   A.   P r i c e R i t e o n E l m w o o d.




                                  Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR          Document 252-38         Filed 02/07/25   Page 52 of 95


                                                                                           51



 1   Q.   W h a t c r o s s s t r e e t i s t h a t c l o s e s t t o o n E l m w o o d?

 2   A.   N o r t h.

 3   Q.   O k a y.      Is it --

 4   A.   A n d B e s t.

 5   Q.   O k a y.      H o w l o n g d i d y o u w o r k t h e r e?

 6   A.   M a y b e a b o u t l e s s t h a n a y e a r.

 7   Q.   H o w m u c h d i d y o u m a k e t h e r e?

 8   A.   I d o n ' t r e m e m b e r.

 9   Q.   D o y o u r e c a l l w h y y o u s t o p p e d w o r k i n g t h e r e?

10   A.   No.        N o s p e c i f i c r e a s o n.     Oh, yes I do.          I

11        r e m e m b e r.      They tried to change my store to the

12        o t h e r o n e , t o t h e n e w e r o n e t h a t' s o n E l m w o o d a n d

13        K e n m o r e.      But I lived three blocks from the one

14        o n E l m w o o d a n d N o r t h.

15   Q.   O k a y.

16   A.   S o I q u i t.

17   Q.   Got it.            H o w a b o u t b e f o r e P r i c e R i t e, d i d y o u w o r k

18        a n y w h e r e?

19   A.   No.        No.

20   Q.   Have we covered everywhere you worked before you

21        g o t y o u r A s s o c i a t e' s ?

22   A.   No.        I w o r k e d s o m e w h e r e e l s e, I w o r k e d a t P a r t y

23        C i t y w h e n I g r a d u a t e d f r o m h i g h s c h o o l.       And I




                                     Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR       Document 252-38          Filed 02/07/25   Page 53 of 95


                                                                                          52



 1        turned eighteen and I worked at Party City for

 2        l i k e H a l l o w e e n s e a s o n, l i k e s e a s o n a l.

 3   Q.   O k a y.     I t w a s n' t f u l l- t i m e e m p l o y m e n t t h o u g h?

 4   A.   No.

 5   Q.   H o w m a n y y e a r s d i d y o u d o t h a t?

 6   A.   J u s t f o r l i k e a f e w m o n t h s.

 7   Q.   O k a y.     M e a n i n g, d i d y o u , d i d y o u w o r k t h e r e

 8        m u l t i p l e H a l l o w e e n s e a s o n s?

 9   A.   No.        Just the one.

10   Q.   O k a y.     What classes did you have to take to get

11        y o u r A s s o c i a t e' s d e g r e e?

12   A.   A lot.        I h a d t o t a k e a n a t o m y, I h a d t o t a k e - - I

13        h a d t o g o t o a n i n t e r n s h i p.          I had to take

14        E n g l i s h, a n d m a t h, a n d s c i e n c e.       Anatomy one,

15        two, English one, two.                      I had to take a

16        k e y b o a r di n g c l a s s, I h a d t o t a k e a p s y c h o l o g y

17        c l a s s, a l o t .

18   Q.   D i d y o u h a v e t o p a y t u i t i o n?

19   A.   I did.

20   Q.   H o w m u c h w a s y o u r t u i t i o n?

21   A.   I d o n ' t k n o w s p e c i f i c a l l y.       I can tell you how

22        much student loan debt I'm in.

23   Q.   How much student loan debt are you in?




                                  Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR       Document 252-38         Filed 02/07/25   Page 54 of 95


                                                                                          53



 1   A.   F i f t y t h o u s a n d d o l l a r s.

 2   Q.   S t e m m i n g a l l f r o m y o u r A s s o c i a t e' s d e g r e e?

 3   A.   T h a t' s t h e o n l y d e g r e e I o b t a i n e d, b u t s t e m m i n g

 4        f r o m m u l t i p l e u n i v e r s i t i e s, t r y i n g t o g e t i t

 5        t o g e t h e r.

 6   Q.   S o i t ' s l o a n s y o u t o o k o u t f o r M e d a i l l e, E C C a n d

 7        B r y a n t a n d S t r a t t o n?

 8   A.   Yes.

 9   Q.   I s t h e b u l k o f i t f r o m B r y a n t a n d S t r a t t o n?

10   A.   Yes.      Because I actually stayed and attended and

11        I g o t a d e g r e e.

12   Q.   A f t e r g e t t i n g y o u r A s s o c i a t e' s d e g r e e, d i d y o u

13        o b t a i n a n y e m p l o y m e n t?

14   A.   Yes.

15   Q.   W h e r e d i d y o u o b t a i n e m p l o y m e n t?

16   A.   B u f f a l o M e d i c a l G r o u p.

17   Q.   W h a t d o y o u d o a t B u f f a l o M e d i c a l G r o u p?

18   A.   I w a s a m e d i c a l a s s i s t a n t.

19   Q.   How long were you there for?

20   A.   A y e a r.

21   Q.   D o t h e y h a v e m u l t i p l e f a c i l i t i e s?

22   A.   Yes.

23   Q.   W e r e y o u a t j u s t o n e f a c i l i t y?




                                  Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR       Document 252-38         Filed 02/07/25    Page 55 of 95


                                                                                       54



 1   A.   W i l l i a m s v i l l e, E s s j a y.

 2   Q.   H o w l o n g d i d y o u w o r k t h e r e?         I ' m s o r r y.   I

 3        d i d n' t c a t c h i t .

 4   A.   F r o m J u n e o f 2 0 1 7 u n t i l M a y o f 2 0 1 8.

 5   Q.   H o w m u c h w e r e y o u p a i d?

 6   A.   T h i r t e e n d o l l a r s a n h o u r.

 7   Q.   W h y d i d y o u l e a v e?

 8   A.   B e c a u s e I w a s n' t m a k i n g e n o u g h m o n e y w i t h a

 9        d e g r e e.

10   Q.   D i d y o u q u i t?

11   A.   I q u i t.

12   Q.   And you quit --

13   A.   I n M a y o f 2 0 1 8.

14   Q.   D i d y o u f i n d e m p l o y m e n t a f t e r t h a t?

15   A.   Yes.

16   Q.   W h e r e d i d y o u f i n d e m p l o y m e n t?

17   A.   K a l e i d a H e a l t h.

18   Q.   Y o u w e n t b a c k t o w o r k f o r K a l e i d a?

19   A.   I did.

20   Q.   Were there any issues given that you had been

21        f i r e d t h e r e p r e v i o u s l y?

22   A.   No.

23   Q.   W h a t p o s i t i o n d i d y o u g e t a t K a l e i d a?




                                  Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR         Document 252-38       Filed 02/07/25    Page 56 of 95


                                                                                         55



 1   A.   A c e r t i f i e d m e d i c a l a s s i s t a n t.

 2   Q.   When did you get that job?

 3   A.   I n M a y o f 2 0 1 8.

 4   Q.   Any gap in between Buffalo Medical Group and

 5        K a l e i d a?

 6   A.   No.     I put my two weeks in, the day before I

 7        s t a r t e d a t K a l e i d a.

 8   Q.   D o y o u s t i l l w o r k a t K a l e i d a?

 9   A.   Yes.

10   Q.   H o w m u c h d o y o u m a k e?

11   A.   N o w I m a k e - - I t h i n k i t ' s t w e n t y- o n e

12        s e v e nt y - f o u r b u t t h e c e n t s m i g h t b e o f f , b u t I

13        know I make --

14   Q.   D o y o u w o r k f u l l- t i m e?

15   A.   Yes.         I t h i n k i t ' s t w e n t y- t w o s e v e nt y - f o u r.   I'm

16        s o r r y.

17   Q.   T h a t' s o k a y.       D o y o u w o r k f i v e d a y s a w e e k?

18   A.   Yes.

19   Q.   What facility do you work at?

20   A.   O i s h e i.

21   Q.   What specifically do you do?

22   A.   N o w I ' m a m e d i c a l s e c r e t a r y.

23   Q.   W h a t d o e s t h a t e n t a i l?




                                    Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR         Document 252-38       Filed 02/07/25    Page 57 of 95


                                                                                         56



 1   A.    I s c h e d u l e s u r g e r i e s f o r t h e c h i e f o f s u r g e r y, I

 2         a n s w e r p h o n e c a l l s, I t r i a g e p a t i e n t s, a n d I

 3         s c h e d u l e a p p o i n t m e n t s, a n d I r u n V a s c u l a r

 4         A n o m a l i e s C l i n i c, a n d I r u n D r . H a r m o n' s C l i n i c.

 5   Q.    D o y o u p l a n t o s t a y t h e r e?

 6   A.    Yes.

 7   Q.    D o y o u c u r r e n t l y p a y r e n t b y y o u r s e l f?

 8   A.    Yes.

 9   Q.    No one contributes or helps at all?

10   A.    No.

11   M R . S A H A S R A B U D H E:    O f f t h e r e c o r d.

12                  ( D i s c u s s i o n o f f t h e r e c o r d. )

13   B Y M R . S A H A S R A B U D H E:

14   Q.    B a c k o n t h e r e c o r d.       A f t e r a r e c e s s, M i s s E v a n s,

15         d o y o u c u r r e n t l y h a v e a v a l i d d r i v e r' s l i c e n s e?

16   A.    Yes.

17   Q.    H o w l o n g h a v e y o u h a d a v a l i d d r i v e r' s l i c e n s e

18         for?

19   A.    S i x , s e v e n m o n t h s.

20   Q.    S o a p p r o x i m a t e l y J u n e o r J u l y o f t h i s y e a r?

21   A.    Yes.       I d o n ' t e v e n k n o w e x a c t l y w h e n, b u t y e s .

22         T h i s y e a r f o r s u r e.

23   Q.    B e f o r e s u m m e r o f t h i s y e a r, w h e n w a s t h e l a s t




                                      Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR       Document 252-38         Filed 02/07/25   Page 58 of 95


                                                                                         57



 1        t i m e y o u h a d a v a l i d d r i v e r' s l i c e n s e?

 2   A.   T h a t' s m y f i r s t t i m e h a v i n g a v a l i d d r i v e r' s

 3        l i c e n s e.

 4   Q.   O k a y.    D i d y o u p a s s y o u r d r i v e r' s t e s t t h i s y e a r?

 5   A.   Yes.

 6   Q.   Was that the first time you had ever taken it?

 7   A.   Yes.

 8   Q.   So at no point prior to summer of this year did

 9        y o u h a v e a v a l i d d r i v e r' s l i c e n s e?

10   A.   No.

11   Q.   A l l r i g h t.     S i n c e o b t a i n i n g a v a l i d d r i v e r' s

12        l i c e n s e, h a v e y o u r e c e i v e d a n y t r a f f i c t i c k e t s?

13   A.   No.

14   Q.   H a v e y o u e v e r b e e n p u l l e d o v e r?

15   A.   No.

16   Q.   H a v e y o u e v e r b e e n s t o p p e d a t a c h e c k p o i n t, a

17        t r a f f i c s a f e t y c h e c k p o i n t?

18   A.   S i n c e h a v i n g m y l i c e n s e?

19   Q.   Yes.

20   A.   No.

21   Q.   B e f o r e o b t a i n i n g y o u r d r i v e r' s l i c e n s e t h i s y e a r,

22        d i d y o u d r i v e r e g u l a r l y?

23   A.   Yes.




                                  Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR         Document 252-38     Filed 02/07/25    Page 59 of 95


                                                                                          58



 1   Q.   H o w o f t e n d i d y o u d r i v e - - l e t m e a s k t h i s.             In

 2        b e t w e e n - - w i t h d r a w n.   I n t h e f i v e- y e a r p e r i o d

 3        l e a d i n g u p t o w h e n y o u g o t a v a l i d d r i v e r' s

 4        l i c e n s e, h o w o f t e n w o u l d y o u s a y y o u d r o v e o n a

 5        w e e k l y b a s i s?

 6   A.   A t l e a s t t o a n d f r o m w o r k.       I would say quite

 7        r e g u l a r l y.

 8   Q.   M o r e t h a n o n c e a w e e k?

 9   A.   Yes.

10   Q.   When you drove would there be a licensed driver

11        in the car with you?

12   A.   Yes.

13   Q.   W a s t h a t a l w a y s t h e c a s e?

14   A.   No.

15   Q.   A n d I ' m t a l k i n g a b o u t j u s t g e n e r a l l y h e r e.     Who

16        would be the person or people who had a valid

17        d r i v e r' s l i c e n s e t h a t d r o v e w i t h y o u ?

18   A.                 G r e e n, K e l l y I s a a c, L a S h a r e e c e G r e e n,

19        T a n i s h a W a r e.

20   Q.   Why is it that you would be driving and they

21        would not be?

22   A.   N o t s a y i n g t h a t t h e y w o u l d n o t b e d r i v i n g, b u t I

23        m e a n, I h a v e a l e a r n e r' s p e r m i t, i t ' s n o t t h a t




                                   Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR         Document 252-38       Filed 02/07/25   Page 60 of 95


                                                                                          59



 1        I ' m r e v o k e d o r a n y t h i n g l i k e t h a t.

 2   Q.   O k a y.      W h e n d i d y o u o b t a i n a l e a r n e r' s p e r m i t?

 3   A.   I n 2 0 1 2 m a y b e.

 4   Q.   D i d y o u h a v e a v a l i d l e a r n e r' s p e r m i t f r o m 2 0 1 2

 5        u p u n t i l 2 0 2 2 w h e n y o u o b t a i n e d y o u r l i c e n s e?

 6   A.   Yes.         U n l e s s i t w a s s u s p e n d e d.

 7   Q.   O n h o w m a n y o c c a s i o n s w a s i t s u s p e n d e d?

 8   A.   I d o n ' t k n o w s p e c i f i c a l l y.

 9   Q.   W a s i t m o r e t h a n f i v e?

10   A.   No.

11   Q.   Was it more than two?

12   A.   M a y b e.

13   Q.   Was it at least two?

14   A.   I d o n ' t k n o w.

15   Q.   Y o u d o n ' t r e m e m b e r i f i t w a s m o r e t h a n o n e t i m e?

16   A.   No.

17   Q.   I t c e r t a i n l y h a p p e n e d a t l e a s t o n c e t h o u g h?

18   A.   A t l e s t, y e s .

19   Q.   In the five years preceding when you obtained

20        y o u r v a l i d d r i v e r' s l i c e n s e, a b o u t h o w o f t e n

21        would you operate a vehicle without a licensed

22        driver in the car with you?

23   A.   M a y b e o n c e o r t w i c e a w e e k.         I can't say specific




                                    Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR      Document 252-38       Filed 02/07/25    Page 61 of 95


                                                                                       60



 1        a m o u n t, t h a t w a s a l o n g t i m e a g o .

 2   Q.   D i d y o u e v e r t a k e y o u r d r i v e r' s t e s t i n t h a t

 3        f i r e- y e a r p e r i o d?

 4   A.   No.

 5   Q.   O t h e r t h a n w h e n y o u t o o k y o u r d r i v e r' s t e s t t o

 6        g e t y o u r d r i v e r' s l i c e n s e, d i d y o u e v e r t a k e - -

 7   A.   No.

 8   Q.   - - a d r i v e r' s t e s t b e f o r e t h a t?

 9   A.   No.

10   Q.   S o y o u ' v e o n l y e v e r t a k e n t h e d r i v e r' s t e s t o n c e?

11   A.   Yes.

12   Q.   W h a t t o o k y o u s o l o n g t o t a k e t h e d r i v e r' s t e s t?

13   A.   L i f e.

14   Q.   E x p l a i n w h a t y o u m e a n.

15   A.   J u s t g o i n g t h r o u g h t h i n g s, s c h o o l, w o r k, b e i n g a

16        mom.       Y o u h a v e t o d o t h e f i v e- h o u r c o u r s e f i r s t,

17        I n e v e r r e a l l y h a d t i m e t o d o t h a t.

18   Q.   W h e n d i d y o u c o m p l e t e t h e f i v e- h o u r c o u r s e t h a t

19        w a s r e q u i r e d?

20   A.   R i g h t b e f o r e I g o t m y l i c e n s e t h i s y e a r.

21   Q.   S o i t w o u l d h a v e b e e n e a r l i e r i n 2 0 2 2?

22   A.   Yes.

23   Q.   P r i o r t o 2 0 2 2, h a d y o u e v e r s i g n e d u p t o d o t h e




                                   Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR      Document 252-38        Filed 02/07/25     Page 62 of 95


                                                                                      61



 1        f i v e- h o u r c o u r s e?

 2   A.   Yes.       W e l l, I d i d n' t h a v e t o s i g n u p p r i o r, y o u

 3        just show up at the time of.

 4   Q.   O k a y.

 5   A.   I s h o w e d u p t o o n e , b u t I k n e w I w a s n' t g o n n a b e

 6        a b l e t o s t a y t h e w h o l e t i m e, s o - -

 7   Q.   W h e n w a s t h a t?

 8   A.   I n 2 0 1 9.

 9   Q.   Approximately how many traffic tickets have you

10        received operating a car while you had your

11        l e a r n e r' s p e r m i t?

12   A.   M o r e t h a n o n c e.

13   Q.   M o r e t h a n f i v e?

14   A.   I ' m n o t s u r e e x a c t l y.

15   Q.   Have you ever received a speeding ticket while

16        y o u h a d y o u r l e a r n e r' s p e r m i t?

17   A.   No.

18   Q.   Have you ever been ticketed because the car you

19        w e r e d r i v i n g h a d a n e x p i r e d r e g i s t r a t i o n?

20   A.   No.

21   Q.   H o w a b o u t a n e x p i r e d i n s p e c t i o n?

22   A.   I don't think so.

23   Q.   H o w a b o u t t h e f a c t t h a t y o u d i d n' t h a v e p r o o f o f




                                   Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR       Document 252-38       Filed 02/07/25    Page 63 of 95


                                                                                         62



 1        v a l i d i n s u r a n c e?

 2   A.   No.

 3   Q.   A s y o u s i t h e r e t o d a y, c a n y o u t e l l m e t h e

 4        instances you remember receiving a traffic ticket

 5        w h e n y o u h a d a l e a r n e r' s p e r m i t, w h a t w e r e t h e y

 6        for?

 7   A.   D r i v i n g w i t h o u t a l i c e n s e.

 8   Q.   I s t h a t t h e o n l y i n s t a n c e y o u c a n r e m e m b e r?

 9   A.   W e l l, w h e n e v e r I g o t a t i c k e t a t a s t o p p o i n t, i t

10        w a s b e c a u s e d r i v i n g w i t h o u t a l i c e n s e, o r I g o t

11        i n f a n t s e a t b e l t t i c k e t s o n c e - - n o t i n f a n t, b u t

12        c h i l d r e s t r i c t i o n o r s o m e t h i n g o f t h e n a t u r e.

13        That was one.             I got -- it was always usually

14        d r i v i n g w i t h o u t a l i c e n s e.

15   Q.   How many times were you given a ticket for

16        d r i v i n g w i t h o u t a l i c e n s e?

17   A.   I d o n ' t k n o w, m o r e t h a n o n c e.

18   Q.   W e r e a n y o f t h o s e n o t a t a c h e c k p o i n t, a t r a f f i c

19        s a f e t y c h e c k p o i n t?

20   A.   No.

21   Q.   So each time you got a ticket for driving without

22        a license it happened at a traffic and safety

23        c h e c k p o i n t?




                                   Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR         Document 252-38     Filed 02/07/25    Page 64 of 95


                                                                                         63



 1   A.   No.        Once in Buffalo -- no.                T h e o n e s i n B u f f a l o,

 2        yes.         But once I was on my way to work in

 3        T o n a w a n d a.

 4   Q.   O k a y.      So you received a ticket in Tonawanda once

 5        f o r d r i v i n g w i t h o u t a l i c e n s e?

 6   A.   Yes.

 7   Q.   And that was not at a traffic and safety

 8        c h e c k p o i n t?

 9   A.   No.

10   Q.   How many times did you receive a ticket in the

11        C i t y o f B u f f a l o f o r d r i v i n g w i t h o u t a l i c e n s e?

12   A.   O n l y a t a c h e c k p o i n t o r p u l l e d o v e r?

13   Q.   T o t a l.

14   A.   I d o n ' t k n o w e x a c t l y.

15   Q.   O k a y.      H o w a b o u t a t a c h e c k p o i n t?

16   A.   I k n o w o n c e f o r s u r e.       I k n o w o n c e f o r s u r e.        It

17        m a y b e m o r e t h a n o n c e t h o u g h.

18   Q.   O k a y.      You can recall one specifically right now?

19   A.   Yes.

20   Q.   And you can't recall any other specifically right

21        n o w , c o r r e c t?

22   A.   C o r r e c t.

23   Q.   Do you know that you have gotten a ticket for




                                   Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR       Document 252-38      Filed 02/07/25        Page 65 of 95


                                                                                        64



 1        driving without a license in the City of Buffalo

 2        at a location that was not a vehicle safety

 3        c h e c k p o i n t?

 4   A.   No.

 5   Q.   S o a s f a r a s y o u k n o w - - w i t h d r a w n.          You can only

 6        think of one total instance where you got a

 7        ticket for driving without a license in the City

 8        of Buffalo right now?

 9   A.   Yes.

10   Q.   O k a y.    When was the last time you encountered a

11        v e h i c l e a n d s a f e t y c h e c kp o i n t i n t h e C i t y o f

12        B u f f a l o?

13   A.   It was a long time ago.                   I d o n ' t r e m e m b e r.

14   Q.   Was it more than five years ago?

15   A.   I d o n ' t k n o w.     I t w a s p r e - p a n d e m i c.

16   Q.   O k a y.    I t w a s c e r t a i n l y b e f o r e 2 0 2 0?

17   A.   Yes.

18   Q.   Have you ever encountered a vehicle and safety

19        checkpoint after you got a ticket for driving

20        w i t h o u t a l i c e n s e?

21   A.   Yes.

22   Q.   A b o u t h o w m a n y t i m e s?

23   A.   O n c e I c a n r e c a l l.




                                 Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR       Document 252-38      Filed 02/07/25     Page 66 of 95


                                                                                        65



 1   Q.   W e r e y o u t h e d r i v e r?

 2   A.   No.

 3   Q.   W e r e y o u a p a s s e n g e r?

 4   A.   Yes.

 5   Q.   Where was this particular vehicle and safety

 6        c h e c k p o i n t?

 7   A.   On Lisbon -- no.              L e s l i e a n d S c a j a q u a d a.

 8   Q.   Is that the same location where you were given a

 9        t i c k e t f o r d r i v i n g w i t h o u t a l i c e n s e?

10   A.   No.

11   Q.   So you did not receive a ticket at Leslie and

12        S c a j a q u a d a?

13   A.   No.

14   Q.   A s f a r a s y o u r e m e m b e r?

15   A.   A s f a r a s I r e m e m b e r.

16   Q.   O k a y.

17   A.   I d i d n o t p e r s o n a ll y , I w a s n o t d r i v i n g, b u t t h e y

18        impounded my car.

19   Q.   T h i s i n s t a n c e a t L e s l i e a n d S c a j a q u a d a, y o u r c a r

20        w a s p u l l e d o v e r?

21   A.   Yes.

22   Q.   S o m e o n e e l s e w a s d r i v i n g?

23   A.   Yes.




                                 Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR         Document 252-38        Filed 02/07/25   Page 67 of 95


                                                                                       66



 1   Q.   W h o w a s d r i v i n g?

 2   A.                    G r e e n.

 3   Q.   W h y w a s t h e c a r p u l l e d o v e r?

 4   A.   E v e r y b o d y g e t p u l l e d o v e r a t a c h e c k p o i n t.

 5   Q.   O k a y.    So you -- do you recall why the car was

 6        i m p o u n d e d?

 7   A.   B e c a u s e h i s l i c e n s e w a s s u s p e n d e d.

 8   Q.   O k a y.

 9   A.   A n d h e d i d n' t g e t t h e l e t t e r y e t .

10   Q.   S o n e i t h e r y o u n o r M r . G r e e n h a d a v a l i d l i c e n s e?

11   A.   C o r r e c t.

12   Q.   Was there any other traffic violation that Mr.

13        G r e e n w a s c i t e d f o r a t t h a t t i m e?

14   A.   N o t t h a t I r e m e m b e r, j u s t d r i v i n g w i t ho u t a

15        l i c e n s e f o r s u r e.

16   Q.   O k a y.    And you're sure it was Mr. Green driving

17        the car?

18   A.   Yes.

19   Q.   Were your kids in the car?

20   A.   Yes.

21   Q.   How many of your kids were in the car?

22   A.   All three -- no.                   Two.     At this specific one,

23        two.




                                        Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR         Document 252-38      Filed 02/07/25    Page 68 of 95


                                                                                          67



 1   Q.   Were any tickets issued for improper seat belts

 2        i n t h i s i n s t a n c e?

 3   A.   No.

 4   Q.   Where were you when you received a ticket for

 5        d r i v i n g w i t h o u t a l i c e n s e?

 6   A.   O n P e r s h i n g S t r e e t.

 7   Q.   D o y o u r e c a l l t h e c r o s s s t r e e t y o u w e r e c l o s es t

 8        to?

 9   A.   H i g h S t r e e t.

10   Q.   Is this before or after                               received a ticket

11        f o r d r i v i n g w i t h o u t a l i c e n s e a t a c h e c k p o i n t?

12   A.   A f t e r.       A r o u n d t h e s a m e t i m e, b u t i t w a s a f t e r I

13        b e l i e v e.

14   Q.   D o y o u r e c a l l a b o u t h o w l o n g a f t e r?

15   A.   No.

16   Q.   Do you recall if                           w e n t t o c o u r t?

17   A.   Yes.

18   Q.   D o y o u r e c a l l i f h e c h a l l e n g e d h i s t i c k e t?

19   A.   I d o n ' t r e c a l l.

20   Q.   Did you go to court with him?

21   A.   I d o n ' t r e m e m b e r.       It was a long time ago.

22   Q.   What makes you say that                                    - - w i t h d r a w n.

23        How did you know you were at a vehicle and safety




                                    Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR          Document 252-38        Filed 02/07/25   Page 69 of 95


                                                                                            68



 1         checkpoint the instance that                                    was ticketed

 2         f o r d r i v i n g w i t h o u t a l i c e n s e?

 3   A.    B e c a u s e I k n o w w h a t t h e y l o o k l i k e.

 4   Q.    W h a t d o t h e y l o o k l i k e?

 5   A.    It's like about ten or more cops all standing

 6         a r o u n d i n t h e s t r e e t, a n d a l l t h e i r c a r s a r e

 7         p a r k e d o n t h e c u r b s o f b o t h s i d e s, a n d t h e y j u s t

 8         stop every car that comes by.

 9   Q.    And that was the case on Leslie and Scajaquada

10         during the incident that                                 got a ticket for

11         d r i v i n g w i t h o u t a l i c e n s e?

12   A.    Yes.

13   Q.    D o y o u r e c a l l t h e o f f i c e r w h o i s s u e d t h e t i c k e t?

14   A.    No.

15   Q.    W a s i t t h e s a m e o f f i c e r w h o i s s u e d y o u a t i c k e t?

16   M S . T E F F T:       O b j e c t t o f o r m.

17   T H E W I T N E S S:      I d o n ' t k n o w.

18   B Y M R . S A H A S R A B U D H E:

19   Q.    O k a y.     I'm going to show you what we marked at a

20         p r e v i o u s d e p o s i t i o n a s D e f e n d a n t' s E x h i b i t A .

21         And I'm going to draw your attention to

22         p a r a g r a p hs t h r e e s e v e nt y - e i g h t t h r o u g h t h r e e

23         n i n e t y- s e v e n o f D e p o s i t i o n E x h i b i t A , w h i c h i s




                                     Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR          Document 252-38        Filed 02/07/25    Page 70 of 95


                                                                                         69



 1         t h e A m e n d e d C o m p l a i n t i n t h i s a c t i o n.

 2                 You told me earlier you reviewed this

 3         b e f o r e, c o r r e c t?

 4   A.    Yes.

 5   Q.    This is one of the documents you reviewed in

 6         p r e p a r a t i o n f o r t o d a y?

 7   A.    Yes.

 8   Q.    A t t h e b o t t o m o f p a g e s i x t y o f t h e C o m p l a i n t,

 9         w h i c h i s D e f e n d a n t' s E x h i b i t A , y o u s e e i n t h e

10         bold subheading that says Jane Doe?

11   A.    Yes.

12   Q.    Fair to say that that refers to you?

13   A.    Yes.

14   Q.    C a n I a s k w h y y o u d i d n' t w a n t y o u r n a m e t o b e

15         a s s o c i a t e d w i t h t h i s l a w s u i t?

16   M S . T E F F T:       O b j e c t t o f o r m.    G o a h e a d.

17   T H E W I T N E S S:      In fear of retaliation from the Buffalo

18         P o l i c e.

19   B Y M R . S A H A S R A B U D H E:

20   Q.    What made you fear retaliation from the Buffalo

21         P o l i c e?

22   A.    B e c a u s e t h e y a r e k n o w n t o - - w e l l, b e c a u s e I h a v e

23         heard from other members of the community that




                                     Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR         Document 252-38       Filed 02/07/25   Page 71 of 95


                                                                                       70



 1        they harass you.

 2   Q.   Who has told you that Buffalo police officers

 3        e n g a g e i n b e h a v i o r t h a t i s h a r a s s i n g i n n a t u r e?

 4   A.   P e o p l e t h a t I k n o w.

 5   Q.   Have you ever seen Buffalo police officers

 6        engaged in behavior you would describe as

 7        h a r a s s i n g?

 8   A.   Yes.

 9   Q.   W h e n?

10   A.   J u s t g r o w i n g u p a n d l i v i n g o n t h e E a s t S i d e.

11   Q.   Can you think of a specific instance in the last

12        f i v e y e a r s?

13   A.   Not specifically with me.

14   Q.   S o t h a t w a s g o i n g t o b e m y n e x t q u e s t i o n.       Has

15        any Buffalo police officer ever harassed you?

16   A.   No.

17   Q.   A n y o t h e r r e a s o n s y o u c a n t h i n k o f w h y y o u d i d n' t

18        w a n t y o u r n a m e t o b e a s s o c i a t e d w i t h t h e l a w s u i t?

19   A.   No.        I knew at some point my name would be, but

20        n o t t h r o u g h o u t a l l t h i s.

21   Q.   O k a y.     Are you now okay with having your name

22        a s s o c i a t e d w i t h t h e l a w s u i t?

23   A.   Yes.




                                   Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR       Document 252-38           Filed 02/07/25   Page 72 of 95


                                                                                          71



 1   Q.   Why don't you take your time and read through

 2        p a r a g r a p hs t h r e e s e v e nt y - e i g h t t h r o u g h t h r e e

 3        n i n e t y- s e v e n.

 4   A.   I t h i n k t h a t' s i t .

 5   Q.   So do you feel like you've had enough time to

 6        r e v i e w t h o s e p a r a g r a p h s?

 7   A.   Y e a h.    I r e a d i t b e f o r e.

 8   Q.   O k a y.    I want to specifically address your

 9        attention for the time being to paragraph three

10        s e v e nt y - n i n e a t t h e b o t t o m o f p a g e s i x t y.

11   A.   O k a y.

12   Q.   I t s a y s t h e r e t h a t p r i o r t o J u l y o f 2 0 1 5, y o u

13        passed through approximately ten BPD vehicle

14        c h e c k p o i n t s, c o r r e c t?

15   A.   C o r r e c t.

16   Q.   First of all, do you recall approximately how

17        many of those checkpoints you drove through as

18        the driver of the car?

19   A.   O n l y t h e t i m e I g o t t i c k e t e d.

20   Q.   S o a n y o t h e r t i m e y o u w e n t t h r o u g h a c h e c kp o i n t

21        y o u w e r e a p a s s e n g e r?

22   A.   Yes.

23   Q.   Can you tell me, do you recall specifically where




                                    Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR        Document 252-38         Filed 02/07/25     Page 73 of 95


                                                                                          72



 1        the ten checkpoints were that you went through as

 2        a p a s s e n g e r p r i o r t o J u l y o f 2 0 1 5?

 3   A.   S u r e.      Usually Leslie and Scajaquada a few times

 4        f o r s u r e.       K i n da a n y w h e r e.    I ' m d r a w i n g a b l a n k.

 5        Hold on.           T h e y c o u l d b e a n y w h e r e.      Genesee and

 6        K e h r, G e n e s e e a n d M o s e l l e.       Pershing and Best --

 7        no.        P e r s h i n g a n d H i g h.    T h e L e s l i e o n e , t h a t' s

 8        t h e c o m m o n o n e , b e c a u s e i t ' s l i k e a t u r n, s o y o u

 9        d o n ' t k n o w t h e y' r e t h e r e u n t i l y o u t u r n i n t o i t .

10        They just usually be -- they used to usually be

11        a t r a n d o m a r e a s, r a n d o m c o r n e r s, l i k e r a n d o m

12        s p o t s t h r o u g h o u t t h e n e i g h b o r h o o d.    Never in a

13        s p e c i f i c l o c a t i o n.

14   Q.   Have you ever been through a vehicle and safety

15        checkpoint in an area of the city that you would

16        call -- that is not what you would consider to be

17        t h e E a s t S i d e?

18   A.   No.

19   Q.   Never been on a vehicle and traffic checkpoint on

20        t h e W e s t S i d e?

21   A.   No.

22   Q.   O k a y.      If you could go to page or paragraph three

23        e i g h t y o n t h e n e x t p a g e o f D e f e n d a n t' s E x h i b i t A .




                                    Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR       Document 252-38         Filed 02/07/25   Page 74 of 95


                                                                                         73



 1   A.   Um-hum.

 2   Q.   Paragraph three eighty says that essentially you

 3        were driving with your children on July 2nd, 2015

 4        a t t h e i n t e r s e c t i o n o f L e s l i e a n d S c a j a q u a d a,

 5        c o r r e c t?

 6   A.   Yes.       I t h i n k, d o n ' t q u o t e m e , b u t I t h i n k t h a t

 7        w e m i g h t h a v e t o g o b a c k.          I think this is the

 8        w r o n g s t o p.     I k n o w t h e y i m p o u n de d m y c a r r i g h t

 9        h e r e, b u t I w a s n' t d r i v i n g t h a t t i m e.        I think

10        w h e r e I g o t t h e s e t i c k e t s, i t m i g h t h a v e b e e n o n

11        P e r s h i n g a n d H i g h.

12   Q.   O k a y.

13   A.   Where I actually got the --

14   Q.   O k a y.    So paragraph three eighty may not

15        accurately reflect the intersection where you

16        e n c o u n t e r e d t h i s c h e c k p o i n t?

17   A.   T r u e.    I d o n ' t , I d o n ' t k n o w s p e c i f i c a l l y, b u t I

18        don't think so.

19   Q.   O k a y.    S o g o i n g d o w n - - w e l l, a c t u a l l y s t a y i n g o n

20        p a r a g r a p h t h r e e e i g h t y.    I t ' s a l l e g e d, a n d I

21        think you've already told us, at this time in

22        J u l y o f 2 0 1 5, y o u d i d n' t h a v e a l i c e n s e, r i g h t?

23   A.   I did not.




                                   Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR          Document 252-38        Filed 02/07/25    Page 75 of 95


                                                                                         74



 1   Q.    You acknowledge you were driving a car without a

 2         l i c e n s e?

 3   M S . T E F F T:       O b j e c t t o f o r m.

 4   T H E W I T N E S S:      Yes.

 5   B Y M R . S A H A S R A B U D H E:

 6   Q.    A n d d i d y o u k n o w t h a t t h a t w a s i l l e g a l?

 7   M S . T E F F T:       O b j e c t t o f o r m.

 8   T H E W I T N E S S:      No.     T h a t' s n o t i l l e g a l.

 9   B Y M R . S A H A S R A B U D H E:

10   Q.    Did you know that it was a traffic violation to

11         operate a car without a license without a

12         licensed driver present with you?

13   M S . T E F F T:       O b j e c t t o f o r m.

14   T H E W I T N E S S:      No.

15   B Y M R . S A H A S R A B U D H E:

16   Q.    Is it your understanding that that is not a

17         t r a f f i c v i o l a t i o n?

18   M S . T E F F T:       O b j e c t t o f o r m.

19   T H E W I T N E S S:      A t t h e t i m e, y e s .

20   B Y M R . S A H A S R A B U D H E:

21   Q.    O k a y.     So at the time your understanding was that

22         it was not a traffic violation to operate a

23         v e h i c l e w i t h a l e a r n e r' s p e r m i t w i t h o u t a




                                     Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR          Document 252-38        Filed 02/07/25     Page 76 of 95


                                                                                          75



 1         licensed driver present in the car with you?

 2   M S . T E F F T:       O b j e c t t o f o r m.

 3   T H E W I T N E S S:      T r u e.   Because I can purchase my car,

 4         r e g i s t e r m y c a r , a n d i n s u r e m y c a r o n a l e a r n e r' s

 5         p e r m i t, b u t I c a n ' t d r i v e m y c a r .

 6   B Y M R . S A H A S R A B U D H E:

 7   Q.    H a s y o u r u n d e r s t a n d i n g c h a n g e d?

 8   A.    Yes.

 9   Q.    How so?

10   A.    B e c a u s e e v e n t h o u g h I r e g i s t e r, i n s u r e a n d

11         purchase a car, I still need somebody else to

12         drive it.

13   Q.    O k a y.     And you do acknowledge on July 2nd, 2015

14         there was no licensed driver with you in the car?

15   A.    Yes.

16   Q.    A n d I t h i n k y o u t o l d u s a l r e a d y, y o u t h i n k y o u

17         w e r e a t t h e i n t e r s e c t i o n o f P e r s h i n g a n d H i g h?

18   A.    I know -- I believe so.                      B u t i f t h a t' s w h a t,

19         u n l e s s t h e s e t i c k e t s s a y o t h e r w i s e.

20   Q.    O k a y.     W e l l, w e c a n t a l k a b o u t t h a t a l i t t l e

21         l a t e r.    Tell me how many cars were in front of

22         y o u w h e n y o u g o t t o t h e c h e c kp o i n t.

23   A.    I d o n ' t k n o w.




                                     Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR        Document 252-38      Filed 02/07/25   Page 77 of 95


                                                                                      76



 1   Q.   O k a y.     W a s i t m u l t i p l e c a r s?

 2   A.   Yes.

 3   Q.   A s y o u s i t h e r e t o d a y, d o y o u r e c a l l s p e c i f i c a l l y

 4        one way or the other whether you took your seat

 5        belt off?

 6   A.   Yes.

 7   Q.   Did you take your seat belt off before you got to

 8        the point of the checkpoint where the officers

 9        w e r e o b s e r v i n g y o u r v e h i c l e?

10   A.   T h a t' s n o t - - i t ' s h a r d t o s a y d e p e n d i n g o n w h a t

11        y o u m e a n a s t o t h e c h e c k p o i n t, b e c a u s e - -

12   Q.   When in relation to when you stopped your car did

13        you take your seat belt off?

14   A.   I m m e d i a t e l y.

15   Q.   O k a y.     So as soon as you got to the checkpoint

16        you took your seat belt off?

17   A.   R i g h t.

18   Q.   W e r e y o u b e h i n d o t h e r c a r s?

19   A.   Yes.

20   Q.   A n d w e ' l l g e t t o i t a l i t t l e l a t e r o n b u t , w e l l,

21        I g u e s s, y o u r c h i l d r e n, c a n y o u d e s c r i b e t h e

22        seats they were sitting in?

23   A.   J u s t b o o s t e r s e a t s, t h a t h a s b e e n p r o v en t o b e




                                   Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR       Document 252-38         Filed 02/07/25   Page 78 of 95


                                                                                          77



 1        f o r l a r g e r c h i l d r e n.

 2   Q.   O k a y.    W h a t i s a b o o s t e r s e a t?

 3   A.   I t ' s a b o o s t e r s e a t, i t ' s j u s t a s e a t.

 4   Q.   O k a y.

 5   A.   And you put the seat belt through like a regular

 6        s e a t.

 7   Q.   Is it the same as a booster seat a small child

 8        w o u l d s i t a t a t t h e d i n n e r t a b l e?

 9   A.   K i n d a, s o r ta , a r o u n d t h a t l i n e.

10   Q.   I s i t , i n o t h e r w o r d s, w e r e t h e y c a r s e a t s?

11   A.   N o - - w e l l, a b o o s t e r s e a t i s a f o r m o f a c a r

12        s e a t, t h e r e' s j u s t a g e a n d w e i g h t r e q u i r e m e n t s

13        f o r a s p e c i f i c t y p e, w h i c h I ' v e l e a r n e d f r o m

14        t h i s.

15   Q.   O k a y.    How many officers were present at this

16        p a r t i c u l a r c h e c k p o i n t?

17   A.   I d o n ' t k n o w.

18   Q.   Do you recall the appearance of the officer who

19        g a v e y o u - - w h o u l t i m a t e l y g a v e y o u s o m e t i c k e t s?

20   A.   I d o n ' t r e c a l l.

21   Q.   Do you recall one way or the other whether the

22        o f f i c e r w a s m a l e o r f e m a l e?

23   A.   I d o n ' t r e m e m b e r.




                                   Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR       Document 252-38         Filed 02/07/25   Page 79 of 95


                                                                                           78



 1   Q.   You don't recall anything about the interaction

 2        y o u h a d w i t h t h e o f f i c e r?

 3   A.   N o t w o r d f o r w o r d, b u t I r e m e m b e r t h e i n c i d e n t i n

 4        w h o l e, a n d h o w t h e c h e c k p o i n t s w o r k.

 5   Q.   Do you recall one way or the other whether you

 6        interacted with more than one police officer at

 7        t h i s p a r t i c u l a r c h e c k p o i n t?

 8   A.   No.        Different police officers go to different

 9        c a r s, a n d I g u e s s t h e o f f i c e r w h o t i c k e t e d m e

10        just happened to come to my car.

11   Q.   W a s y o u r v e h i c l e i m p o u n d e d?

12   A.   No.

13   Q.   I n o t h e r w o r d s, y o u w e r e i s s u e d t i c k e t s a n d y o u

14        w e r e a l l o w e d t o d r i v e a w a y?

15   A.   Yes.

16   Q.   W h e n w a s t h e n e x t t i m e y o u - - w i t h d r a w n.        After

17        t h i s i n c i d e n t, w h e r e y o u r e c e i v e d a t i c k e t a t a

18        c h e c k p o i n t f o r d r i v i n g w i t h o u t a l i c e n s e, h a v e

19        there been any other instances where you as a

20        p a s s e n g e r h a v e g o n e t h r o u g h c h e c kp o i n t s?

21   A.   Yes.

22   Q.   O k a y.     A b o u t h o w m a n y t i m e s?

23   A.   I c a n ' t r e c a l l.




                                  Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR         Document 252-38        Filed 02/07/25     Page 80 of 95


                                                                                              79



 1   Q.    Would you say that the frequency with which you

 2         e n c o u n t e r c h e c kp o i n t s a s a p a s s e n g e r d e c r e a s e d

 3         a f t e r t h i s i n c i d e n t?

 4   A.    No.

 5   Q.    W h e n d i d i t s t a r t t o d e c r e a s e?

 6   A.    I w a n t t o s a y w h e n w e s t a r te d d i s c u s s i n g t h i s

 7         l a w s u i t.

 8   M R . S A H A S R A B U D H E:    I want to show you -- or, I want

 9         t o h a v e s o m e t h i n g m a r k e d a c t u a l l y.

10

11                  ( W h e r e u p o n, E v a n s H e a r i n g T r a n s c r i p t w a s

12         t h e n r e c e i v e d a n d m a r k e d a s D e f e n d a n t' s E x h i b i t

13         F , f o r i d e n t i f i c a t i o n. )

14

15   B Y M R . S A H A S R A B U D H E:

16   Q.    So I just handed you what has been marked as

17         D e f e n d a n t' s E x h i b i t F .     Is this a document you've

18         s e e n b e f o r e?

19   A.    Yes.

20   Q.    This is a transcript of a hearing that was held

21         in connection with the tickets you were issued at

22         t h e c h e c k p o i n t w e w e r e j u s t d i s c u s s i n g, c o r r e c t?

23   A.    Yes.




                                      Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR        Document 252-38      Filed 02/07/25   Page 81 of 95


                                                                                        80



 1   Q.   I have a quick question about the first page

 2        a c t u a l l y o f t h i s e x h i b i t.     It's dated March 10,

 3        2 0 1 7, c o r r e c t?

 4   A.   Yes.

 5   Q.   A n d i f I r e c a l l c o r r e c t l y, i t w a s J u l y o f 2 0 1 5

 6        w h e n y o u g o t t h e s e t i c k e t s?

 7   A.   I think so.            It was a long time ago.                 Yes.

 8   Q.   Do you recall why it took so long to get into

 9        T r a f f i c C o u r t f o r a h e a r i n g?

10   A.   No.

11   Q.   Nothing in particular you can think of that led

12        to there being over a year in between the ticket

13        b e i n g i s s u e d a n d h a v i n g t h e h e a r i n g?

14   A.   No.

15   Q.   O k a y.      Was there ever an adjournment for the

16        h e a r i n g?

17   A.   No.        T h a t w a s t h e f i r s t t i m e I e v e r w e n t.

18   Q.   O k a y.      I w a s j u s t c u r i o u s.     I want to direct your

19        a t t e n t i o n t o p a g e f i v e o f D e f e n d a n t' s E x h i b i t F ,

20        a n d s p e c i f i c a l l y, I w a n t t o d i r e c t y o u r a t t e n t i o n

21        t o t h e l a s t p a r a g r a p h.     So do you see the last

22        p a r a g r a p h, a t t h e h e a r i n g, y o u s a i d y o u d i d n' t

23        know that the seat belts that you were using or




                                    Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR          Document 252-38        Filed 02/07/25   Page 82 of 95


                                                                                            81



 1         the harnesses or belts you were using for your

 2         k i d s w e r e i m p r o p e r?

 3   A.    Yes.

 4   Q.    Do you dispute that they were improper given your

 5         c h i l d r e n' s w e i g h t a n d s i z e a t t h a t t i m e?

 6   A.    C a n y o u r e p h r a s e?

 7   Q.    Yes.       I n o t h e r w o r d s, a t t h e t i m e y o u g o t t h e s e

 8         t w o t i c k e t s, w e r e t h e h a r n e s s e s y o u w e r e u s i n g

 9         f o r y o u r c h i l d r e n p r o pe r g i v e n y o u r c h i l d r e n' s

10         s i z e a n d w e i g h t a t t h e t i m e?

11   M S . T E F F T:       O b j e c t t o f o r m.

12   T H E W I T N E S S:      No.     I d o n ' t c o n t e s t t h a t.

13   B Y M R . S A H A S R A B U D H E:

14   Q.    O k a y.     And you don't contest that when you pulled

15         u p t o t h e o f f i c e r w h o g a v e y o u y o u r t i c k e t, t h a t

16         y o u w e r e n' t w e a r i n g y o u r s e a t b e l t?

17   A.    Yes, I did.             I e x p l a i n e d i t r i g h t h e r e.

18   Q.    I n o t h e r w o r d s, y o u a d m i t t e d a t t h e h e a r i n g t h a t

19         y o u w e r e n o t w e a r i n g y o u r s e a t b e l t?

20   M S . T E F F T:       O b j e c t t o f o r m.

21   T H E W I T N E S S:      No.     T h a t' s n o t w h a t I a d m i t t e d.      I

22         took my seat belt off when I got -- it's not like

23         I drove up to a police officer standing on the




                                     Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR        Document 252-38       Filed 02/07/25   Page 83 of 95


                                                                                        82



 1         curb to check with a seat belt off.                         I drove to a

 2         p i l e o f c a r s, c o p s a n d c a r s a n d o f f i c e r s o u t s i d e

 3         o f t h e i r c a r s, a n d n o b o d y i m m e d i a t e l y w a s a t m y

 4         window or came up to me to even observe if I was

 5         d r i v i n g w i t h o u t a s e a t b e l t.    I took my seat belt

 6         off to reach for my registration and my insurance

 7         b e c a u s e t h a t' s w h a t t h e y w a n t e d, t h a t' s w h a t y o u

 8         d o a t a c h e c k p o i n t.

 9   B Y M R . S A H A S R A B U D H E:

10   Q.    O k a y.    But you acknowledge that when you -- not

11         w h e n y o u p u l l e d u p t o t h e c h e c k p o i n t, w h e n y o u

12         pulled up to the officer who observed your car --

13   A.    The officer walked up to me.

14   Q.    O k a y.    When the officer walked up to you --

15   A.    I d i d n' t h a v e a s e a t b e l t o n .

16   Q.    O k a y.    Did you ever seek to appeal any of the

17         tickets you were issued as a result of this

18         i n c i d e n t?

19   A.    No.

20   Q.    N o t a f t e r t h i s h e a r i n g?

21   A.    No.

22   Q.    Did you receive any other tickets after this

23         i n c i d e n t?




                                   Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR         Document 252-38       Filed 02/07/25   Page 84 of 95


                                                                                      83



 1   A.    I d o n ' t k n o w.        I d o n ' t r e c a l l.

 2   Q.    Did you receive any other tickets at any

 3         c h e c k p o i n t s a f t e r t h i s i n c i d e n t?

 4   A.    N o , n o t t h a t I r e m e m b e r.

 5   M R . S A H A S R A B U D H E:    T h a t' s a l l I h a v e.

 6   M S . T E F F T:     I d o n ' t t h i n k I h a v e a n y f o l l o w- u p .

 7   M R . S A H A S R A B U D H E:    A l l r i g h t.

 8

 9                                      *     *     *      *      *

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                                      Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR      Document 252-38        Filed 02/07/25    Page 85 of 95


                                                                                        84



 1                I HEREBY CERTIFY that I have read the

 2        f o r e g o i n g 8 3 p a g e s a n d t h a t, e x c e p t a s t o t h o s e

 3        c h a n g e s s e t f o r t h i n t h e a t t a c h e d e r r a t a f o r m( s ) ,

 4        they are a true and accurate transcript of the

 5        t e s t i m o n y g i v e n b y m e i n t h e a b o v e- e n t i t l e d

 6        a c t i o n o n D e c e m b e r 1 5 , 2 0 2 2.

 7

 8

 9

10                                     _______________________________

11                                                   JASMINE EVANS

12

13

14        Sworn to before me this

15

16        _ _ _ _ _ _ _ d a y o f _ _ _ _ _ _ _ _ _ _ _ _ 2 0 2 3.

17

18

19        __________________________

20                 N o t a r y P u b l i c.

21

22

23




                                 Sue Ann Simonin Court Reporting
Case 1:18-cv-00719-CCR   Document 252-38   Filed 02/07/25   Page 86 of 95
  Case 1:18-cv-00719-CCR   Document 252-38   Filed 02/07/25   Page 87 of 95


                                ERRATA FORM


PAGE            LINE             CORRECTION:



                                 REASON:


PAGE            LINE             CORRECTION:



                                 REASON:


PAGE            LINE             CORRECTION:



                                 REASON:


PAGE            LINE             CORRECTION:



                                 REASON:


PAGE            LINE             CORRECTION:



                                 REASON:


PAGE            LINE             CORRECTION:



                                 REASON:


PAGE            LINE             CORRECTION:



                                 REASON:
   Case 1:18-cv-00719-CCR                          Document 252-38                 Filed 02/07/25            Page 88 of 95
                                                        Jasmine Evans
                                                                                                                                       1
            '              217 [3] - 22:20,             adjournment [1] -           appearing [1] - 4:8                 B
                          23:10, 25:9                  80:15                        apply [1] - 5:23
 '14 [1] - 35:6            284 [2] - 35:1, 35:10        admitted [2] - 81:18,                                 Bachelor's [1] - 38:4
                                                                                    appointments [1] -
                           2nd [2] - 73:3, 75:13       81:21                       56:3                       basement [10] -
            1                                           adult [1] - 37:6            approve [1] - 28:15      27:21, 30:7, 30:8,
                                                                                                             30:15, 30:19, 30:20,
 1-10 [1] - 1:17                      3                 affect [1] - 7:23           approximate [2] -
                                                                                                             31:1, 31:3, 31:6
 1-20 [1] - 1:18                                        afternoon [1] - 5:8        35:17, 35:19
                           37 [1] - 4:3                                                                       basis [1] - 58:5
 10 [1] - 80:2                                          age [1] - 77:12                   [4] - 19:21,
                           38 [1] - 37:14                                                                     Baynes [1] - 26:17
 100 [2] - 2:9, 4:11                                    agency [3] - 45:3,         20:1, 20:9, 21:8
                                                                                                              become [1] - 41:22
 10004 [1] - 4:8                                       46:1, 47:17                  area [3] - 27:13,
 120 [2] - 5:2, 20:4
                                      5                 ago [10] - 12:16,          33:1, 72:15                bedroom [1] - 33:7
                           50 [1] - 4:7                13:6, 14:20, 14:21,          areas [1] - 72:11         behalf [2] - 1:6, 1:8
 140 [2] - 2:9, 4:11
                           53 [3] - 19:6, 33:17,       50:19, 60:1, 64:13,          arguing [2] - 49:4,       behaved [1] - 49:17
 14202 [1] - 4:4
                          34:23                        64:14, 67:21, 80:7          49:5                       behavior [4] - 49:15,
 14202-4040 [1] - 4:12
                           5th [1] - 18:14              agreement [1] - 31:5        argument [3] - 50:1,     49:22, 70:3, 70:6
 14207 [2] - 5:2, 20:6
                                                        ahead [1] - 69:16          50:5, 50:8                 behind [3] - 29:11,
 14211 [1] - 19:8
                                                                                                             29:16, 76:18
 15 [3] - 2:10, 84:6,                 6                 aid [1] - 38:21             Arnold [15] - 25:13,
                                                                                                              belt [13] - 62:11,
85:9                                                    alcohol [1] - 8:5          25:14, 25:20, 26:11,
                           686 [1] - 32:19                                                                   76:5, 76:7, 76:13,
 1500 [1] - 4:7                                         alleged [1] - 73:20        26:16, 26:21, 27:8,
                                                                                   27:18, 27:23, 28:2,       76:16, 77:5, 81:16,
 1625 [2] - 25:2                                        allowed [2] - 31:7,
                                      7                78:14                       28:3, 28:6, 29:12,        81:19, 81:22, 82:1,
 175 [3] - 31:13, 32:8,                                                                                      82:5, 82:15
32:18                      78 [2] - 25:13, 26:11        almost [1] - 24:4          30:3
                           79 [1] - 3:5                                             arrested [2] - 47:10,     belts [3] - 67:1,
 186 [1] - 27:10                                        altercation [1] - 50:3
                                                                                   47:13                     80:23, 81:1
 1990 [1] - 18:14                                       Amended [1] - 69:1
                                                                                                              best [5] - 6:5, 6:14,
 1:58 [1] - 2:10                      8                 amount [4] - 9:12,          assistance [1] -
                                                                                                             6:18, 7:2, 26:7
                                                       27:4, 35:17, 60:1           28:12
                           8 [2] - 28:9, 28:11                                                                Best [3] - 33:21,
                                                        anatomy [2] - 52:12,        assistant [7] - 41:21,
            2              83 [1] - 84:2
                                                                                   41:22, 45:6, 45:7,        51:4, 72:6
                                                       52:14
 2000 [1] - 48:17          89 [1] - 37:16                                                                     better [4] - 27:18,
                                                        AND [1] - 4:6              45:9, 53:18, 55:1
 2008 [3] - 37:22,                                                                  assistants [1] - 45:8    27:19, 30:4, 34:9
                                                        Anomalies [1] - 56:4
38:9, 38:16                           A                 answer [13] - 6:6,          assisting [1] - 38:8      between [18] - 4:17,
 2010 [3] - 42:6,           A-Q-I-L-A [1] - 19:21                                   Associate's [10] -       9:4, 9:7, 16:15, 26:13,
                                                       6:13, 6:16, 7:1, 7:14,
48:17, 50:20                AARON [1] - 1:16                                       38:6, 38:7, 40:22,        33:21, 36:10, 36:11,
                                                       8:9, 8:17, 8:20, 8:22,
 2011 [1] - 35:3                                                                   41:8, 41:10, 42:14,       36:14, 39:16, 43:19,
                            ability [4] - 6:5, 6:14,   12:13, 12:14, 47:9,
 2012 [6] - 39:21,                                                                 51:21, 52:11, 53:2,       44:12, 44:18, 47:15,
                          7:3, 8:1                     56:2
48:17, 48:18, 59:3,                                                                53:12                     50:21, 55:4, 58:2,
                            able [1] - 61:6                         [26] - 19:4,
59:4                                                                                associated [3] -         80:12
                            above-described [1]        19:5, 19:13, 20:22,
 2013 [10] - 35:6,                                                                 69:15, 70:18, 70:22        big [1] - 28:9
                          - 85:17                      21:10, 22:3, 25:19,
35:8, 42:12, 43:19,                                                                 attached [1] - 84:3       bigger [1] - 33:6
                            above-entitled [2] -       25:20, 25:23, 26:3,
44:12, 44:19, 45:13,                                                                attempted [1] - 39:21     biologically [1] -
                          84:5, 85:12                  26:8, 26:23, 31:21,
47:15, 48:5                                                                         attend [9] - 20:12,      22:5
                            absences [1] - 43:17       31:23, 33:11, 34:5,
 2014 [1] - 40:20                                                                  21:2, 21:12, 37:13,        birth [1] - 18:13
                            Academy [2] - 21:3,        34:16, 34:17, 34:20,
 2015 [10] - 42:17,                                                                38:10, 39:17, 39:20,       BLACK [1] - 1:5
                          21:13                        35:12, 58:18, 66:2,
43:19, 44:12, 44:19,                                   67:10, 67:16, 68:1,         42:2, 42:4                 Black [10] - 14:11,
                            accord [1] - 29:7
71:12, 72:2, 73:3,                                     68:10                        attendance [3] -         14:14, 15:16, 16:18,
                            accurate [3] - 8:1,
73:22, 75:13, 80:5                                                    [1] -        42:19, 42:21, 43:6        17:5, 17:9, 17:15,
                          84:4, 85:18
 2016 [4] - 45:13,                                                                  attended [3] - 15:18,    17:18, 18:1, 18:11
                            accurately [3] - 6:11,     67:22
46:6, 47:15, 47:20                                                                 39:21, 53:10               blank [1] - 72:4
                          6:21, 73:15                   apartment [3] - 23:1,
 2017 [6] - 31:15,                                     23:2, 33:7                   attending [1] - 39:12     block [2] - 26:16,
                            acknowledge [3] -
31:16, 38:1, 41:9,                                      apartments [1] -            attention [4] - 68:21,   33:21
                          74:1, 75:13, 82:10
54:4, 80:3                                             36:15                       71:9, 80:19, 80:20         blocks [2] - 26:13,
                            action [4] - 69:1,
 2018 [3] - 54:4,                                       apologize [2] -             attorney [6] - 5:9,      51:13
                          84:6, 85:13, 85:16
54:13, 55:3                                            20:17, 26:12                12:17, 13:5, 13:12,        bold [1] - 69:10
                            activism [1] - 12:5
 2019 [1] - 61:8                                        appeal [1] - 82:16         17:14, 17:21               BONDS [1] - 1:7
                            activist [1] - 12:3
 2020 [1] - 64:16                                       appearance [1] -            attorneys [3] - 11:5,     booster [5] - 76:23,
                            address [14] - 22:8,
 2022 [6] - 2:10, 59:5,                                77:18                       11:9, 11:12               77:2, 77:3, 77:7,
                          22:19, 22:23, 25:20,
60:21, 60:23, 84:6,                                     APPEARANCES [1] -           August [1] - 18:14       77:11
                          26:1, 26:12, 27:10,
85:10                                                  4:1                          average [1] - 35:19       bottom [3] - 23:7,
                          28:1, 29:23, 30:9,
 2023 [1] - 84:16                                       Appearing [2] - 4:5,        aware [1] - 14:11        69:8, 71:10
                          32:5, 34:9, 34:21,
 210 [1] - 4:4                                         4:12                                                   bought [2] - 32:13,
                          71:8




                                          Sue Ann Simonin Court Reporting
   Case 1:18-cv-00719-CCR                     Document 252-38                 Filed 02/07/25            Page 89 of 95
                                                    Jasmine Evans
                                                                                                                                  2
46:1                     43:16                     66:4, 67:11, 68:1,          commencing [1] -          COVID [1] - 28:10
 Boulevard [1] -          Campus [1] - 37:15       71:20, 72:15, 72:19,       2:10                       cross [9] - 20:7,
31:13                     capacities [3] - 1:13,   73:16, 75:22, 76:8,         Commissioner [2] -       26:11, 26:12, 27:11,
 boy [5] - 19:17,        1:15, 1:19                76:11, 76:15, 77:16,       1:14, 1:15                32:20, 33:20, 36:9,
20:17, 21:4, 21:5,        capacity [1] - 1:16      78:7, 78:18, 79:22,         common [1] - 72:8        51:1, 67:7
21:16                     car [28] - 58:11,        82:8, 82:11                 community [5] -           curb [1] - 82:1
 BPD [1] - 71:13         59:22, 61:10, 61:18,       checkpoints [7] -         11:20, 12:1, 12:2,         curbs [1] - 68:7
 break [2] - 8:7, 8:10   65:18, 65:19, 66:3,       71:14, 71:17, 72:1,        12:3, 69:23                curious [1] - 80:18
 BRINKWORTH [1] -        66:5, 66:17, 66:19,       78:4, 78:20, 79:2,          company [3] - 30:21,      cut [1] - 24:17
1:16                     66:21, 68:8, 71:18,       83:3                       45:3, 47:22
 Brittany [4] - 15:22,   73:8, 74:1, 74:11,         chief [1] - 56:1           Complaint [5] -                    D
15:23, 16:1, 16:4        75:1, 75:3, 75:4, 75:5,    child [6] - 19:17,        10:10, 10:11, 10:15,
                                                                                                         dad [1] - 34:16
 Broadway [1] - 4:7      75:11, 75:14, 76:12,      20:14, 21:4, 21:16,        69:1, 69:8
                                                   62:12, 77:7                                           DANIEL [1] - 1:15
 brought [2] - 5:13,     77:10, 77:11, 78:10,                                  complaints [1] - 15:4
                         82:12                      children [11] - 19:11,                               date [1] - 18:13
13:4                                                                           complete [2] - 60:18,
                          care [1] - 21:19         19:13, 19:15, 21:23,                                  dated [1] - 80:2
 BROWN [1] - 1:12                                                             85:19
                          cars [8] - 68:6,         22:5, 25:18, 30:16,                                   dates [1] - 43:8
 Brunkswick [1] -                                                              conflict [1] - 23:16
                         75:21, 76:1, 76:18,       73:3, 76:21, 77:1,                                    daughter [2] - 20:9,
30:9                                                                           connection [1] -
                         78:9, 82:2, 82:3          81:9                                                 21:8
 Brunswick [10] -                                                             79:21
                          case [5] - 16:1, 16:3,    children's [2] - 81:5,                               days [9] - 22:10,
27:9, 27:13, 28:2,                                                             consider [1] - 72:16
                         16:5, 58:13, 68:9         81:9                                                 22:22, 27:16, 30:1,
29:23, 31:12, 31:13,                                                           constitutes [1] -
                          catch [1] - 54:3          choice [1] - 39:11                                  42:22, 43:4, 43:10,
32:8, 32:18, 33:6,                                                            85:18
                          Cathedral [1] - 4:3       cited [1] - 66:13                                   55:17
33:7                                                                           construction [1] -
                                                    CITY [1] - 1:12                                      DE'JON [1] - 1:7
 Bryant [7] - 38:3,       Catholic [4] - 46:15,                               22:4
                         46:16, 46:17, 47:5         city [1] - 72:15                                     deal [1] - 30:4
38:5, 39:16, 40:19,                                                            contest [2] - 81:12,
                          CENTER [2] - 4:2,         City [13] - 1:13, 5:10,                              debt [2] - 52:22,
40:22, 53:7, 53:9                                                             81:14
                         4:6                       18:4, 19:7, 32:22,                                   52:23
 bucks [1] - 34:3                                                              contract [1] - 46:2
                          Center [3] - 12:20,      33:1, 37:10, 51:23,                                   December [6] - 2:10,
 BUFFALO [1] - 1:12                                                            contribute [1] -
                         17:17, 42:3               52:1, 63:11, 64:1,                                   35:3, 42:17, 48:3,
 Buffalo [34] - 1:13,                                                         26:23
                          cents [1] - 55:12        64:7, 64:11                                          84:6, 85:9
1:14, 1:16, 1:18, 2:9,                                                         contributes [1] -
                                                    Civil [1] - 2:7                                      decide [1] - 24:14
4:4, 5:2, 5:10, 13:3,     certain [2] - 28:14,                                56:9
                         43:7                       class [3] - 1:8, 52:16,                              decided [1] - 24:16
18:4, 19:7, 26:19,                                                             convenient [2] -
27:13, 32:2, 32:22,       certainly [4] - 36:7,    52:17                                                 decrease [1] - 79:5
                                                                              34:10, 34:11
33:1, 36:16, 37:8,       44:9, 59:17, 64:16         classes [9] - 38:23,                                 decreased [1] - 79:2
                                                                               conversation [1] -
37:10, 42:3, 53:16,       certification [3] -      39:8, 40:5, 40:10,                                    Defendant's [7] -
                                                                              6:9
53:17, 55:4, 63:1,       4:20, 42:5, 48:20         40:12, 41:23, 42:2,                                  3:4, 68:20, 69:9,
                                                                               conversely [1] - 7:14
63:11, 64:1, 64:8,        certified [5] - 41:21,   42:4, 52:10                                          72:23, 79:12, 79:17,
                                                                               cool [1] - 8:8
64:12, 69:17, 69:20,     41:22, 41:23, 45:6,        client [1] - 20:14                                  80:19
                                                                               cops [3] - 24:3, 68:5,
70:2, 70:5, 70:15        55:1                       Clinic [2] - 56:4                                    Defendants [3] -
                                                                              82:2
 Buffalo,New [1] -        CERTIFY [3] - 84:1,       close [3] - 16:12,                                  1:20, 4:12, 5:11
                                                                               corners [1] - 72:11
4:12                     85:7, 85:17               26:18, 36:9                                           degree [12] - 38:4,
                                                                               correct [10] - 7:21,
 Building [2] - 2:9,      challenge [3] - 29:1,     closest [7] - 20:7,                                 38:7, 40:22, 41:8,
                                                                              63:21, 63:22, 66:11,
4:10                     46:22, 47:6               26:12, 27:11, 32:20,                                 41:11, 42:14, 52:11,
                                                                              69:3, 71:14, 71:15,
 bulk [1] - 53:9          challenged [1] -         33:20, 51:1, 67:7                                    53:2, 53:3, 53:11,
                                                                              73:5, 79:22, 80:3
 bullying [2] - 49:6,                               CNA [7] - 41:19,                                    53:12, 54:9
                         67:18                                                 correctly [1] - 80:5
49:7                                               41:20, 45:3, 45:5,                                    delivers [1] - 22:4
                          change [3] - 27:2,                                   counsel [1] - 4:17
 bush [1] - 20:8         27:4, 51:11               48:15, 50:20, 50:22                                   Department [4] -
                                                                               COUNTY [1] - 85:3
 Bush [1] - 20:9          changed [2] - 37:15,      CNAs [1] - 45:3                                     1:14, 1:16, 1:18, 13:4
                                                                               County [1] - 85:6
 BY [16] - 5:6, 12:8,    75:7                       co [2] - 49:4, 49:5                                  depended [1] - 35:16
                                                                               couple [2] - 5:12,
12:18, 13:21, 15:10,      changes [1] - 84:3        co-worker [2] - 49:4,                                deponent [1] - 85:13
                                                                              5:23
56:13, 68:18, 69:19,      CHARIS [1] - 1:6         49:5                                                  Deposition [1] -
                                                                               course [4] - 6:18,
74:5, 74:9, 74:15,        CHARLES [1] - 1:7         cocaine [2] - 46:6,                                 68:23
                                                                              60:16, 60:18, 61:1
74:20, 75:6, 79:15,                                46:7                                                  deposition [2] - 5:13,
                          Charter [3] - 20:13,                                 Court [1] - 80:9
81:13, 82:9                                         College [1] - 38:13                                 68:20
                         21:3, 21:13                                           COURT [1] - 1:3
 BYRON [2] - 1:12,                                  college [5] - 37:23,                                 DERENDA [1] - 1:15
                          check [1] - 82:1                                     court [3] - 10:19,
1:14                                               38:1, 38:2, 38:10,                                    describe [2] - 70:6,
                          checkpoint [29] -                                   67:16, 67:20
                                                   38:12                                                76:21
                         57:16, 57:17, 62:18,                                  courtroom [3] - 5:18,
                                                                                                         described [1] - 85:17
           C             62:19, 62:23, 63:8,        colleges [1] - 39:18      5:19, 8:14
                         63:12, 63:15, 64:3,        colloquial [1] - 6:8                                 describing [1] - 9:16
 calendar [2] - 40:23,                                                         covered [2] - 37:5,
                         64:11, 64:19, 65:6,        coming [1] - 15:4                                    difference [2] - 9:4,
                                                                              51:20




                                      Sue Ann Simonin Court Reporting
   Case 1:18-cv-00719-CCR                       Document 252-38                   Filed 02/07/25              Page 90 of 95
                                                      Jasmine Evans
                                                                                                                                         3
30:6                      60:6, 60:8, 60:10,          embarrass [1] - 49:9        68:23, 69:9, 72:23,         40:6, 44:17
 different [7] - 23:23,   60:12                                     [2] - 21:7,   79:12, 79:17, 80:19          finished [2] - 41:7,
30:17, 30:18, 39:2,        driveway [1] - 30:23      21:12                         exhibit [1] - 80:2         41:14
45:4, 78:8                 driving [28] - 58:20,      employment [8] -             EXHIBITS [1] - 3:1          fire [1] - 60:3
 dinner [1] - 77:8        58:22, 61:19, 62:7,        41:11, 47:4, 47:5,            Exhibits [1] - 3:4          fire-year [1] - 60:3
 direct [2] - 80:18,      62:10, 62:14, 62:16,       52:3, 53:13, 53:15,           expired [2] - 61:19,        fired [10] - 42:19,
80:20                     62:21, 63:5, 63:11,        54:14, 54:16                 61:21                       45:15, 45:16, 46:20,
 direction [1] - 85:11    64:1, 64:7, 64:19,          encounter [1] - 79:2         explain [1] - 60:14        47:20, 49:2, 49:3,
 directs [1] - 8:21       65:9, 65:17, 65:22,         encountered [3] -            explained [1] - 81:17      50:1, 50:2, 54:21
 disagreements [1] -      66:1, 66:14, 66:16,        64:10, 64:18, 73:16           extend [2] - 28:7,          firm [1] - 20:14
23:20                     67:5, 67:11, 68:2,          enforcement [1] -           28:8                         first [13] - 6:4, 24:2,
 disciplined [1] -        68:11, 73:3, 73:9,         18:7                                                     24:3, 25:8, 36:20,
49:20                     74:1, 78:18, 82:5           engage [1] - 70:3                       F               37:3, 39:4, 57:2, 57:6,
 discriminatory [1] -      dropped [2] - 39:22,       engaged [1] - 70:6                                      60:16, 71:16, 80:1,
                          40:3                                                     facilities [1] - 53:21
13:3                                                  English [2] - 52:14,                                    80:17
                           drove [6] - 58:4,                                       facility [2] - 53:23,
 discussed [3] -                                     52:15                                                     five [16] - 33:14,
                          58:10, 58:17, 71:17,                                    55:19
12:23, 13:2, 16:9                                     entail [1] - 55:23                                      35:21, 36:1, 36:3,
                          81:23, 82:1                                              fact [1] - 61:23
 discussing [2] -                                     entered [1] - 4:15                                      36:7, 55:17, 58:2,
                           drug [7] - 45:17,                                       fail [3] - 38:23, 40:10,
79:6, 79:22                                           entirety [1] - 42:13                                    59:9, 59:19, 60:16,
                          45:19, 46:14, 46:19,                                    45:19
 discussion [1] - 15:3                                entitled [2] - 84:5,                                    60:18, 61:1, 61:13,
                          46:23, 47:4, 47:10                                       failed [1] - 39:8          64:14, 70:12, 80:19
 Discussion [1] -                                    85:12
                           drugs [4] - 8:5,                                        fair [4] - 7:18, 7:19,      five-hour [3] - 60:16,
56:12                                                 EOC [1] - 42:3
                          45:17, 45:21, 46:9                                      26:18, 69:12                60:18, 61:1
 dispute [1] - 81:4                                   Equal [1] - 42:3
                           due [1] - 28:10                                         fall [1] - 38:16            five-year [1] - 58:2
 distinction [1] - 9:16                               ERIE [1] - 85:3
                           duly [2] - 5:3, 85:14                                   family [1] - 27:23          follicle [1] - 45:23
 DISTRICT [2] - 1:3,                                  Erie [1] - 85:6
                           during [3] - 10:5,                                      far [3] - 64:5, 65:14,      follow [1] - 83:6
1:4                                                   errata [1] - 84:3
                          45:17, 68:10                                            65:15                        follow-up [1] - 83:6
 DO [1] - 85:6                                        ESQ [3] - 4:2, 4:6,
                                                                                   father's [2] - 26:5,
 document [1] - 79:17                                4:10                                                      following [1] - 4:15
                                                                                  34:18
 documents [4] -                     E                essentially [1] - 73:2
                                                                                   fear [2] - 69:17,
                                                                                                               follows [1] - 5:4
10:5, 10:8, 10:16,         Earl [3] - 19:6, 33:17,    Essjay [1] - 54:1                                        FOR [1] - 4:6
                                                                                  69:20
69:5                      34:23                       estimate [6] - 9:3,                                      foregoing [1] - 84:2
                                                                                   February [2] - 31:15,
 Doe [1] - 69:10           East [8] - 27:14,         9:5, 9:8, 9:11, 35:17,                                    form [15] - 4:21,
                                                                                  31:16
 DOE [1] - 1:8            33:2, 33:23, 36:16,        43:18                                                    12:6, 12:12, 13:19,
                                                                                   Federal [1] - 2:7
 dollar [1] - 30:5        37:15, 37:18, 70:10,        EVANS [4] - 1:2, 2:7,                                   15:7, 68:16, 69:16,
                                                                                   fees [1] - 10:21
 dollars [5] - 22:15,     72:17                      84:11, 85:8                                              74:3, 74:7, 74:13,
                                                                                   Felicia [2] - 16:22,       74:18, 75:2, 77:11,
26:22, 44:7, 53:1,         EBONY [1] - 1:8            Evans [7] - 3:5, 5:8,
                                                                                  17:2                        81:11, 81:20
54:6                       ECC [5] - 39:19,          9:17, 18:13, 18:15,
                                                                                   Felicia's [1] - 16:23       form(s [1] - 84:3
 DORETHEA [1] - 1:7       39:20, 39:23, 42:9,        56:14, 79:11
                                                                                   female [1] - 77:22          former [1] - 1:15
 down [5] - 23:4,         53:6                        everyday [1] - 6:8
                                                                                   Ferry [1] - 14:19           forth [3] - 13:4,
23:6, 31:2, 73:19,         ECONOMIC [1] - 4:6         everywhere [2] -
                                                                                   feud [2] - 26:8, 34:17     30:22, 84:3
85:8                       Edison [3] - 36:12,       37:5, 51:20
                                                                                   few [7] - 10:7, 12:16,      four [9] - 19:12,
 downstairs [4] -         36:13                       evict [1] - 29:4
                                                                                  14:21, 34:14, 48:2,         19:14, 21:23, 25:19,
23:17, 26:8, 28:4,         education [1] - 39:18      evicted [1] - 29:6
                                                                                  52:6, 72:3                  34:3, 40:16, 40:17,
30:23                      Eggert [4] - 36:11,        exact [1] - 9:23
                                                                                   fifteen [1] - 44:6         55:12, 55:15
 Dr [2] - 37:16, 56:4     36:12                       exactly [14] - 9:11,
                                                                                   fifth [1] - 21:11           Franklin [1] - 4:3
 draw [1] - 68:21          eight [3] - 28:20,        10:7, 13:7, 14:15,
                                                                                   fifty [3] - 23:14, 30:5,    FRANKLIN [1] - 1:7
 drawing [1] - 72:4       68:22, 71:2                15:19, 24:13, 29:14,
                                                                                  53:1                         Free [4] - 24:22,
 drive [6] - 22:4,         eighteen [1] - 52:1       36:6, 40:1, 40:13,
                                                                                   fighting [1] - 23:18       24:23, 25:5, 25:8
57:22, 58:1, 75:5,         eighty [4] - 72:23,       48:2, 56:21, 61:14,
                                                                                   filed [2] - 12:22, 15:2     frequency [1] - 79:1
75:12, 78:14              73:2, 73:14, 73:20         63:14
                                                                                   filing [1] - 4:19           front [1] - 75:21
 Drive [2] - 35:1,         either [1] - 17:15         exam [1] - 40:7
                                                                                   final [1] - 40:7            full [7] - 6:19, 7:3,
35:10                      elapsed [1] - 16:15        EXAMINATION [1] -
                                                                                   financial [1] - 38:21      27:6, 39:9, 40:15,
 driver [7] - 58:10,       eleven [3] - 19:16,       5:6
59:22, 65:1, 71:18,                                                                findings [2] - 29:1,       52:3, 55:14
                          20:15, 20:20                examination [1] -
74:12, 75:1, 75:14                                                                46:22                        full-time [3] - 40:15,
                           eleven-year-old [1] -     85:14
 driver's [17] - 56:15,                                                            fine [1] - 7:7             52:3, 55:14
                          20:20                       Examination [1] -
56:17, 57:1, 57:2,                                                                 fines [1] - 10:21
                           Elmwood [4] - 50:23,      2:6
                                                                                   finish [10] - 6:6, 6:12,
57:4, 57:9, 57:11,        51:1, 51:12, 51:14          except [2] - 4:21,                                                 G
57:21, 58:3, 58:17,                                                               6:13, 6:15, 30:13,
                                    [1] - 21:22      84:2                                                      gap [1] - 55:4
59:20, 60:2, 60:5,                                                                36:23, 38:18, 40:5,
                                                      Exhibit [7] - 68:20,




                                       Sue Ann Simonin Court Reporting
   Case 1:18-cv-00719-CCR                      Document 252-38                  Filed 02/07/25            Page 91 of 95
                                                     Jasmine Evans
                                                                                                                                     4
 gas [1] - 30:21           Halloween [2] - 52:2,     hum [3] - 6:23, 24:9,       intimidate [2] - 49:8,              L
 general [2] - 17:14,     52:8                      73:1                        49:10
17:21                      handed [1] - 79:16        HUMPHREY [1] - 1:6          involved [2] - 12:4,      Lafayette [1] - 26:17
 general's [3] - 12:17,    handful [1] - 5:11        hundred [9] - 22:15,       14:5                       landlord [6] - 24:20,
13:5, 13:12                harass [2] - 24:4,       26:22, 27:6, 32:9,           Isaac [1] - 58:18        24:21, 29:18, 31:5,
 generally [3] - 11:9,                              34:3, 35:21, 36:1,           issued [7] - 67:1,       32:11, 32:16
                          70:1
32:4, 58:15                                         36:3, 36:7                  68:13, 68:15, 78:13,       Langfield [6] - 35:1,
                           harassed [1] - 70:15
 Genesee [2] - 72:5,                                                            79:21, 80:13, 82:17       35:10, 36:9, 36:18,
                           harassing [2] - 70:3,
                                                                                                          36:20, 37:2
72:6                      70:7                                  I                issues [1] - 54:20
                                                                                                           larger [1] - 77:1
 girl [6] - 19:18,         hard [2] - 40:4, 76:10
                                                     identification [1] -                                  LaShareece [1] -
19:19, 20:17, 21:4,        Harmon's [1] - 56:4
                                                    79:13                                  J              58:18
21:17, 21:18               harnesses [2] - 81:1,
                                                     Identification [1] -        JANE [1] - 1:8            last [9] - 9:22, 16:23,
 given [9] - 5:13,        81:8
                                                    3:4                          Jane [1] - 69:10         19:22, 24:10, 56:23,
5:16, 5:18, 54:20,         head [2] - 6:23
                                                     illegal [2] - 74:6, 74:8    January [1] - 48:3       64:10, 70:11, 80:21
62:15, 65:8, 81:4,         headquarters [1] -
                                                     immediately [2] -           Jasmine [1] - 18:15       Law [2] - 12:20,
81:9, 84:5                24:23
                                                    76:14, 82:3                  JASMINE [4] - 1:2,       17:17
 gonna [1] - 61:5          Health [5] - 46:15,
                                                     important [1] - 6:9        2:7, 84:11, 85:7           law [3] - 2:8, 18:7,
 grade [4] - 21:8,        46:16, 46:17, 47:5,
                                                     impounded [4] -             job [2] - 41:11, 55:2    20:14
21:10, 21:14, 40:8        54:17
                                                    65:18, 66:6, 73:8,           jointly [1] - 26:23       LAW [2] - 4:2, 4:6
 graduate [2] - 37:19,     hear [1] - 30:22
                                                    78:11                        JOSEPH [1] - 1:7          laws [2] - 34:18
38:2                       heard [1] - 69:23
                                                     improper [3] - 67:1,        Judge [1] - 8:14          lawsuit [13] - 5:11,
 graduated [5] -           Hearing [2] - 3:5,       81:2, 81:4                   July [7] - 56:20,        11:9, 11:12, 11:15,
37:17, 38:1, 38:9,        79:11
                                                     IN [1] - 1:5               71:12, 72:2, 73:3,        12:22, 14:2, 14:6,
51:23                      hearing [7] - 79:20,
                                                     in-laws [2] - 34:18        73:22, 75:13, 80:5        15:1, 17:3, 69:15,
 graduating [1] -         80:9, 80:13, 80:16,
                                                     incident [7] - 68:10,       June [2] - 54:4,         70:18, 70:22, 79:7
38:14                     80:22, 81:18, 82:20
                                                    78:3, 78:17, 79:3,          56:20                      lawyer [5] - 8:12,
 grammar [2] - 37:14,      held [4] - 15:16,
                                                    82:18, 82:23, 83:3           junior [1] - 38:12       8:21, 16:1, 16:4,
37:17                     17:18, 18:1, 79:20
                                                     INDEX [1] - 3:1             JUSTICE [1] - 4:6        16:10
 green [3] - 66:10,        help [1] - 45:4
                                                     indicating [1] - 25:15                                lawyers [1] - 9:18
66:13, 66:16               helps [1] - 56:9
                                                     indication [1] - 49:17                K               leading [1] - 58:3
 Green [12] - 19:4,        hereby [1] - 4:17
                                                     individual [6] - 1:13,                                learned [3] - 16:10,
19:5, 19:13, 19:22,        HEREBY [2] - 84:1,                                    Kaleida [16] - 41:17,
                                                    1:14, 1:16, 1:19, 5:11,                               17:11, 77:13
20:1, 20:22, 21:7,        85:7                                                  41:18, 42:11, 42:13,
                                                    50:14                                                  learner's [8] - 58:23,
21:22, 22:3, 58:18,        High [6] - 33:21,                                    42:16, 43:20, 44:15,
                                                     individual's [1] -                                   59:2, 59:4, 61:11,
66:2                      37:18, 67:9, 72:7,                                    44:18, 48:5, 48:6,
                                                    50:18                                                 61:16, 62:5, 74:23,
 Grote [7] - 5:2, 20:4,   73:11, 75:17                                          54:17, 54:18, 54:23,
                                                     individually [1] - 1:8                               75:4
20:6, 20:9, 22:8,          high [4] - 37:17,                                    55:5, 55:7, 55:8
                                                     infant [2] - 62:11                                    lease [3] - 24:17,
22:18, 22:23              37:20, 38:9, 51:23                                     KARINA [1] - 4:6
                                                     influence [1] - 8:4                                  28:7, 28:8
 GROTE [1] - 20:6          higher [3] - 36:7,                                    Kehr [1] - 72:6
                                                     information [1] -                                     least [5] - 40:16,
 ground [1] - 5:23        39:18, 44:9                                            KEISHA [1] - 4:2
                                                    15:5                                                  40:17, 58:6, 59:13,
 Group [3] - 53:16,        Hint [3] - 29:19,                                     Kelly [1] - 58:18
                                                     inspect [1] - 28:13                                  59:17
53:17, 55:4               29:21, 29:22                                           Kenmore [1] - 51:13
                                                     inspection [3] -                                      leave [4] - 24:14,
 group [1] - 13:14         hire [1] - 45:3                                       Kenneth [1] - 32:17
                                                    28:10, 28:11, 61:21                                   24:15, 24:16, 54:7
 Grove [1] - 20:5          hiring [1] - 46:4                                     kept [1] - 49:6
                                                     instance [6] - 62:8,                                  led [1] - 80:11
 grow [1] - 37:8           HODGSON [2] - 2:8,                                    Kevin [1] - 24:11
                                                    64:6, 65:19, 67:2,                                     left [4] - 29:6, 29:7,
 growing [2] - 37:11,     4:9                                                    KEVIN [1] - 1:16
                                                    68:1, 70:11                                           33:5, 42:7
70:10                      Hodgson [1] - 5:9                                     Kevon [1] - 24:11
                                                     instances [2] - 62:4,                                 Leslie [7] - 65:7,
 Guaranty [2] - 2:9,       hold [1] - 72:5                                       keyboarding [1] -
                                                    78:19                                                 65:11, 65:19, 68:9,
4:10                       home [1] - 48:13                                     52:16
                                                     instead [1] - 9:13                                   72:3, 72:7, 73:4
 guess [7] - 9:1, 9:8,     Hospital [5] - 46:2,                                  kids [11] - 31:20,
                                                     insurance [2] - 62:1,                                 less [3] - 9:13, 15:20,
9:9, 24:2, 50:20,         46:3, 46:4, 46:13,                                    33:10, 34:5, 35:11,
                                                    82:6                                                  51:6
76:21, 78:9               46:16                                                 35:13, 35:14, 40:4,
                                                     insure [2] - 75:4,                                    lest [1] - 59:18
 guessing [1] - 9:4        hour [5] - 44:7, 54:6,                               66:19, 66:21, 81:2
                                                    75:10                                                  letter [1] - 66:9
                          60:16, 60:18, 61:1                                     kind [5] - 5:14, 5:16,
                                                     interacted [1] - 78:6                                 license [36] - 56:15,
           H               hourly [2] - 43:23,
                                                     interaction [1] - 78:1
                                                                                9:14, 23:10, 46:9
                                                                                                          56:17, 57:1, 57:3,
 Hager [1] - 48:10        44:2                                                   kinda [2] - 72:4, 77:9
                                                     internship [1] -                                     57:9, 57:12, 57:18,
 hair [4] - 45:22,         hours [1] - 10:4                                      knowledge [1] - 12:4
                                                    52:13                                                 57:21, 58:4, 58:17,
45:23, 46:5, 46:6          house [4] - 30:18,                                    known [3] - 12:1,
                                                     intersection [3] -                                   59:5, 59:20, 60:6,
 HALL [1] - 1:7           31:6, 32:11, 32:13                                    12:2, 69:22
                                                    73:4, 73:15, 75:17                                    60:20, 62:7, 62:10,
                           Hoyt [1] - 26:13




                                       Sue Ann Simonin Court Reporting
   Case 1:18-cv-00719-CCR                     Document 252-38                Filed 02/07/25            Page 92 of 95
                                                    Jasmine Evans
                                                                                                                                  5
62:14, 62:16, 62:22,       male [1] - 77:22        44:5, 44:9                70:3
                                                                                                                  O
63:5, 63:11, 64:1,         Mama [2] - 24:7, 24:8    Miss [4] - 5:8, 9:17,     need [5] - 6:19, 8:7,
64:7, 64:20, 65:9,                                 18:13, 56:14              34:13, 45:4, 75:11         oath [2] - 4:18, 7:20
                           MAMA [1] - 24:8
66:7, 66:10, 66:15,                                 miss [4] - 43:4,          needed [2] - 34:12,       object [15] - 8:12,
                           manner [1] - 85:8
67:5, 67:11, 68:2,                                 43:10, 43:14, 43:16       45:10                     8:13, 12:6, 12:12,
                           March [1] - 80:2
68:11, 73:22, 74:2,                                 missed [2] - 42:22,       neighbor [4] - 23:16,    13:19, 15:7, 68:16,
                           MARIELLE [1] - 1:6
74:11, 78:18                                       43:1                      23:18, 26:9               69:16, 74:3, 74:7,
                           marijuana [2] -
 licensed [5] - 58:10,                              mixed [1] - 47:8          neighborhood [1] -       74:13, 74:18, 75:2,
                          46:10, 46:11
59:21, 74:12, 75:1,                                                                                    81:11, 81:20
                           marked [4] - 68:19,      mom [3] - 36:19,         72:12
75:14                                                                                                   objection [2] - 8:15,
                          79:9, 79:12, 79:16       41:6, 60:16                neighbors [1] - 28:4
 life [1] - 60:13                                                                                      8:17
                           markers [1] - 43:7       money [1] - 54:8          never [9] - 5:18,
 line [1] - 77:9                                                                                        objections [2] - 4:21,
                           married [2] - 18:18,     month [2] - 22:15,       11:22, 14:1, 36:7,
 Lisbon [1] - 65:7                                                                                     8:16
                          19:9                     35:19                     46:8, 47:12, 60:17,
 live [39] - 18:21,                                                          72:12, 72:19               observe [1] - 82:4
                           materials [1] - 22:4     monthly [1] - 22:14
18:22, 19:5, 20:1,                                                            New [8] - 2:9, 4:4,       observed [1] - 82:12
                           math [1] - 52:14         months [5] - 29:16,
20:3, 20:23, 22:18,                                                          4:8, 5:2, 12:20, 17:17,    observing [1] - 76:9
                           Mayor [1] - 1:13        33:4, 48:2, 52:6,
22:21, 23:6, 25:12,                                56:19                     85:6                       obtain [3] - 53:13,
                           mayor [1] - 13:4
25:16, 25:18, 25:23,                                Moselle [1] - 72:6        NEW [3] - 1:4, 4:2,      53:15, 59:2
                           mean [5] - 7:17,
26:4, 26:17, 26:18,                                                          85:1                       obtained [3] - 53:3,
                          26:16, 58:23, 60:14,      mother [1] - 37:3
27:8, 27:15, 27:22,                                                           newer [1] - 51:12        59:5, 59:19
                          76:11                     move [11] - 22:11,
30:18, 31:12, 31:14,                                                          next [3] - 70:14,         obtaining [2] - 57:11,
                           meaning [3] - 40:7,     23:15, 27:17, 28:5,
31:19, 31:21, 31:23,                                                         72:23, 78:16              57:21
                          42:22, 52:7              30:15, 32:10, 32:12,
32:18, 33:3, 33:9,                                 32:13, 34:12, 34:13,       Niagara [3] - 25:2,       occasion [1] - 12:10
                           means [2] - 7:21,
33:11, 33:16, 33:18,                               34:20                     48:11, 48:12               occasions [1] - 59:7
                          85:9
34:4, 34:9, 34:23,                                  moved [12] - 24:2,        Nichole [1] - 85:5        occur [1] - 15:1
                           meant [1] - 27:4
35:2, 35:10, 35:12,                                24:3, 25:6, 25:9, 30:3,    NICHOLE [2] - 2:11,       October [2] - 25:6,
                           Medaille [7] - 38:13,
36:18, 37:10                                       31:15, 31:16, 34:6,       85:21                     25:7
                          39:6, 39:12, 39:16,
 lived [16] - 22:9,                                34:18, 34:19, 35:3,        nine [4] - 22:10,         OF [4] - 1:4, 1:12,
                          42:7, 50:21, 53:6
23:12, 25:20, 27:9,                                35:5                      26:22, 27:6, 71:10        85:1, 85:3
                           Medical [3] - 53:16,
28:4, 29:23, 30:23,                                 MR [20] - 5:6, 12:8,      ninety [2] - 68:23,       offhand [2] - 10:22,
                          53:17, 55:4
31:17, 32:4, 32:6,                                 12:18, 13:21, 15:10,      71:3                      28:23
                           medical [4] - 38:8,
33:15, 36:19, 36:20,                               56:11, 56:13, 68:18,       ninety-seven [2] -        office [2] - 12:17,
                          53:18, 55:1, 55:22
37:3, 37:6, 51:13                                  69:19, 74:5, 74:9,        68:23, 71:3               13:13
                           medications [1] - 8:5
 living [9] - 22:3,                                74:15, 74:20, 75:6,        nobody [2] - 30:23,       officer [13] - 68:13,
                           meet [1] - 12:15
27:20, 28:14, 28:16,                               79:8, 79:15, 81:13,       82:3                      68:15, 70:15, 77:18,
                           meeting [23] - 9:21,
30:6, 30:8, 30:14,                                 82:9, 83:5, 83:7           noise [1] - 24:2         77:22, 78:2, 78:6,
                          10:3, 10:6, 12:16,
31:3, 70:10                                         MS [15] - 12:6, 12:12,    normal [1] - 6:8         78:9, 81:15, 81:23,
                          12:19, 12:21, 12:23,
 LLP [2] - 2:8, 4:9                                12:14, 13:19, 15:7,        north [1] - 32:21        82:12, 82:13, 82:14
                          13:2, 13:6, 13:15,
 loan [2] - 52:22,                                 68:16, 69:16, 74:3,                                  OFFICERS [1] - 1:18
                          13:18, 13:22, 14:16,                                North [2] - 51:2,
52:23                                              74:7, 74:13, 74:18,       51:14                      officers [7] - 1:18,
                          15:6, 15:18, 15:21,
 loans [1] - 53:6                                  75:2, 81:11, 81:20,        Northampton [5] -        70:2, 70:5, 76:8,
                          16:10, 16:15, 17:12,
 location [4] - 14:19,                             83:6                                                77:15, 78:8, 82:2
                          17:15, 17:17, 17:18                                32:19, 33:9, 33:15,
64:2, 65:8, 72:13                                   multiple [7] - 23:3,     34:8, 34:21                offices [1] - 2:8
                           meetings [7] - 14:18,
 locations [1] - 12:11                             43:12, 43:14, 52:8,        Notary [4] - 2:11,        official [2] - 1:13,
                          14:20, 15:1, 15:14,
 LOCKWOOD [1] -                                    53:4, 53:21, 76:1         84:20, 85:5, 85:22        1:15
                          16:12, 17:8, 18:1
1:14                                                                          nothing [4] - 5:20,       often [3] - 58:1, 58:4,
                           member [2] - 16:18,
 look [2] - 68:3, 68:4                                        N              10:23, 80:11, 85:15       59:20
                          18:10
 looked [1] - 31:2                                                            number [3] - 9:12,        Oishei [1] - 55:20
                           members [6] - 1:6,       N.Y [1] - 1:12
 Love [10] - 14:11,                                                          9:14, 39:10                old [4] - 19:15,
                          16:21, 17:5, 17:14,       name [22] - 5:8, 14:4,
14:14, 15:16, 16:18,                                                          nurse [1] - 44:23        20:15, 20:20, 35:8
                          17:22, 69:23             16:22, 16:23, 19:3,
17:5, 17:9, 17:16,                                                            nurse's [6] - 41:21,      once [16] - 9:20,
                           mentioned [1] -         19:20, 19:22, 20:21,
17:19, 18:1, 18:11                                                           41:22, 45:6, 45:7,        46:19, 58:8, 59:17,
                          29:11                    21:6, 21:21, 24:6,
 LOVE [1] - 1:5                                                              45:8, 45:9                59:23, 60:10, 61:12,
                           Mercy [5] - 46:2,       24:7, 24:10, 32:17,
 lower [2] - 23:2, 36:5                                                       Nursefinder [7] -        62:11, 62:17, 63:1,
                          46:4, 46:13, 46:16       37:16, 47:21, 48:11,
 Lutheran [2] - 48:11,                                                                                 63:2, 63:4, 63:16,
                           met [8] - 7:16, 9:18,   50:18, 69:14, 70:18,      44:22, 45:1, 45:2,
48:12                                                                                                  63:17, 64:23
                          11:22, 11:23, 12:9,      70:19, 70:21              46:20, 47:20, 48:7
 Lydia [1] - 37:16                                                                                      one [39] - 11:16,
                          12:11, 12:15, 12:16       names [2] - 18:16,        nursing [1] - 48:13
                                                                                                       12:10, 15:8, 15:11,
                           might [4] - 6:22,       49:11
           M                                                                                           15:13, 16:5, 16:12,
                          55:12, 73:7, 73:10        NATIONAL [1] - 4:6                                 16:15, 16:22, 22:15,
 Machine [1] - 85:9        minimum [3] - 44:3,      nature [2] - 62:12,




                                      Sue Ann Simonin Court Reporting
   Case 1:18-cv-00719-CCR                       Document 252-38                 Filed 02/07/25            Page 93 of 95
                                                      Jasmine Evans
                                                                                                                                   6
23:7, 30:23, 33:21,        partner [2] - 18:21,      76:8                        purposes [1] - 6:9        relative [1] - 85:16
40:1, 40:11, 50:1,        18:23                        points [1] - 43:7         pursuant [1] - 2:7        remained [1] - 27:6
51:12, 51:13, 52:9,        Party [2] - 51:22,          police [6] - 70:2,        put [3] - 9:10, 55:6,     remember [31] -
52:14, 52:15, 53:23,      52:1                       70:5, 70:15, 78:6,         77:5                      13:20, 15:12, 15:13,
55:11, 56:9, 59:15,        pass [1] - 57:4           78:8, 81:23                                          16:17, 27:9, 32:5,
61:5, 62:13, 63:18,        passed [1] - 71:13          Police [6] - 1:14,                  Q              34:8, 35:7, 36:19,
64:6, 66:22, 69:5,         passenger [5] - 65:3,     1:16, 1:18, 13:3,                                    40:2, 43:9, 43:21,
                                                                                 qualify [1] - 28:12
72:7, 72:8, 76:4,         71:21, 72:2, 78:20,        69:18, 69:21                                         44:8, 48:9, 48:10,
77:21, 78:5, 78:6                                                                questions [1] - 4:22
                          79:2                         policy [3] - 42:21,                                48:23, 50:19, 51:8,
 ones [1] - 63:1                                                                 quick [1] - 80:1
                           patients [1] - 56:2       43:5, 43:7                                           51:11, 59:15, 62:4,
 operate [3] - 59:21,                                                            quit [4] - 51:16,
                           pay [7] - 22:16,            position [1] - 54:23                               62:8, 64:13, 65:14,
74:11, 74:22                                                                    54:10, 54:11, 54:12
                          23:13, 28:15, 33:13,         positive [1] - 46:19                               65:15, 66:14, 67:21,
 operating [1] - 61:10                                                           quite [2] - 10:7, 58:6   77:23, 78:3, 83:4
                          34:2, 52:18, 56:7            positivity [1] - 46:6
 Opportunity [1] -                                                               quote [1] - 73:6          rent [17] - 22:12,
                           payments [1] - 28:10        possible [1] - 50:14
42:3                       Pearl [2] - 2:9, 4:11       practices [1] - 13:3                               22:13, 22:14, 23:13,
 order [1] - 28:14         pending [1] - 8:9           pre [3] - 47:4, 47:5,               R              26:21, 27:4, 28:10,
 organization [3] -        people [5] - 13:14,       64:15                       random [4] - 47:4,       28:15, 29:11, 29:14,
14:11, 16:3, 17:11        15:18, 30:22, 58:16,         pre-employment [2]       72:11                     30:4, 31:4, 32:8,
 organizations [1] -      70:4                       - 47:4, 47:5                rate [1] - 44:1          33:13, 34:2, 35:15,
12:5                       per [1] - 35:19             pre-pandemic [1] -        reach [1] - 82:6         56:7
 Orleans [2] - 36:11,      perfect [1] - 9:15        64:15                       REACH [2] - 21:3,         rental [1] - 28:12
36:13                      period [2] - 58:2,          preceding [1] - 59:19    21:13                      Rentals [3] - 24:22,
 otherwise [1] - 75:19    60:3                         preparation [1] -         read [3] - 71:1, 71:7,   25:5, 25:9
 outside [1] - 82:2        periods [1] - 43:8        69:6                       84:1                       Rentals' [1] - 24:23
 owed [1] - 29:14          permit [8] - 58:23,         prepare [1] - 9:17        really [6] - 7:1, 7:2,    rented [2] - 25:4,
 own [2] - 22:11, 29:7    59:2, 59:4, 61:11,           present [9] - 11:12,     9:9, 24:12, 30:5,         25:8
 owned [1] - 25:4         61:16, 62:5, 74:23,        15:6, 17:14, 17:22,        60:17                      rephrase [4] - 7:9,
 owner [3] - 29:3,        75:5                       18:5, 18:7, 74:12,          rear [1] - 33:7          7:11, 7:15, 81:6
29:4                       Pershing [5] - 67:6,      75:1, 77:15                 reason [4] - 7:23,        report [1] - 49:22
                          72:6, 72:7, 73:11,           preserve [1] - 8:16      33:5, 34:7, 51:10          reported [3] - 50:10,
           P              75:17                        pretty [1] - 26:18        reasons [4] - 34:14,     50:12, 50:14
                           person [3] - 30:14,         previous [1] - 68:20     34:15, 70:17               represent [1] - 5:10
 P.M [1] - 2:10
                          32:13, 58:16                 previously [1] -          receive [6] - 38:4,       representatives [2] -
 padlocked [1] -
                           person's [1] - 16:22      54:21                      40:7, 63:10, 65:11,       18:4, 18:7
30:21
                           personally [3] -            PriceRite [2] - 50:23,   82:22, 83:2                represents [2] -
 page [7] - 6:2, 69:8,
                          11:21, 13:23, 65:17        51:17                       received [10] - 10:20,   16:2, 16:3
71:10, 72:22, 72:23,
                           PERSONNEL [1] -             privileged [1] - 16:9    10:21, 57:12, 61:10,       required [2] - 28:17,
80:1, 80:19
                          1:17                         problem [3] - 23:23,     61:15, 63:4, 67:4,        60:19
 pages [1] - 84:2
                           pertain [2] - 10:13,      24:1, 28:9                 67:10, 78:17, 79:12        requirements [1] -
 paid [5] - 43:19,
                          10:16                        Procedure [1] - 2:8       receiving [1] - 62:4     77:12
43:23, 48:22, 54:5
                           pertains [1] - 11:3         proceeding [2] -          recent [1] - 22:11        reserved [1] - 4:22
 PALMER [1] - 1:7
                           PETER [1] - 4:10          8:14, 10:19                 recess [1] - 56:14        residence [1] - 23:10
 pandemic [4] - 13:8,
                           Peter [1] - 5:8             process [1] - 46:4        record [3] - 56:11,       RESISTS [1] - 1:5
13:10, 14:22, 64:15
                           PHILIP [1] - 1:16           promise [1] - 7:10       56:12, 56:14               Resists [10] - 14:12,
 papers [1] - 14:4
                           phone [1] - 56:2            proof [1] - 61:23         REDDEN [1] - 1:6         14:14, 15:16, 16:18,
 Parade [1] - 32:21
                           physical [1] - 50:3         proper [1] - 81:9         reduced [1] - 85:10      17:6, 17:9, 17:16,
 paragraph [7] - 71:9,
                           pile [1] - 82:2             properties [1] - 25:4     Referee [1] - 4:19       17:19, 18:1, 18:11
72:22, 73:2, 73:14,
                           place [7] - 9:10, 26:3,     property [1] - 24:18      refers [1] - 69:12        respective [1] - 4:18
73:20, 80:21, 80:22
                          26:5, 27:18, 27:19,          proven [1] - 76:23        reflect [1] - 73:15       response [2] - 6:19,
 paragraphs [3] -
                          28:13, 34:9                  provoke [1] - 49:15       register [2] - 75:4,     7:4
68:22, 71:2, 71:6
                           Place [1] - 19:6            psychology [1] -         75:10                      restriction [1] -
 Park [1] - 4:3
                           places [2] - 39:17,       52:16                       registration [2] -       62:12
 Parkdale [1] - 26:14
                          45:4                         Public [4] - 2:11,       61:19, 82:6                result [2] - 17:12,
 parked [1] - 68:7
                           Plaintiff [1] - 11:11     84:20, 85:5, 85:22          regular [1] - 77:5       82:17
 part [1] - 28:15
                           Plaintiffs [7] - 1:10,      pulled [8] - 57:14,       regularly [2] - 57:22,    retake [1] - 47:7
 partial [1] - 39:9
                          4:5, 4:8, 5:12, 11:14,     63:12, 65:20, 66:3,        58:7                       retaliation [2] -
 particular [4] - 65:5,                                                                                   69:17, 69:20
                          14:9, 16:5                 66:4, 81:14, 82:11,         related [1] - 22:6
77:16, 78:7, 80:11                                                                                         review [5] - 10:5,
                           plan [1] - 56:5           82:12                       relation [1] - 76:12
 parties [2] - 4:16,                                                                                      10:9, 10:15, 10:18,
                           point [6] - 16:5, 44:6,     purchase [2] - 75:3,      relationship [2] -
4:18                                                                                                      71:6
                          57:8, 62:9, 70:19,         75:11                      11:23, 19:1




                                       Sue Ann Simonin Court Reporting
   Case 1:18-cv-00719-CCR                      Document 252-38                Filed 02/07/25              Page 94 of 95
                                                     Jasmine Evans
                                                                                                                                    7
 reviewed [8] - 10:10,    67:1, 76:4, 76:7,         18:20, 18:23               SPS [3] - 47:18,           52:23
10:19, 10:20, 10:21,      76:13, 76:16, 77:2,        signing [1] - 4:19       47:23, 48:1                  stuff [1] - 10:13
10:22, 11:1, 69:2,        77:3, 77:5, 77:6, 77:7,    similar [1] - 25:3        SS [1] - 85:2               subheading [1] -
69:5                      77:11, 77:12, 80:23,       similarly [1] - 1:9       staff [1] - 13:5           69:10
 revoked [1] - 59:1       81:16, 81:19, 81:22,       Simmons [9] - 11:18,      standard [2] - 28:14,       subsidized [1] -
 ride [1] - 39:9          82:1, 82:5, 82:15         11:19, 12:4, 12:9,        28:17                       35:16
 ROBBIN [1] - 1:17         seats [3] - 76:22,       13:17, 13:22, 14:1,        standing [2] - 68:5,        Suffolk [1] - 36:13
 rule [1] - 8:15          76:23, 77:10              14:8, 15:6                81:23                        suitable [1] - 33:8
 Rules [1] - 2:7           second [5] - 16:16,       SIMMONS [1] - 1:7         start [5] - 40:19,          Suite [4] - 2:9, 4:4,
 rules [1] - 5:23         21:15, 23:7, 39:4,         single [1] - 6:20        42:11, 47:19, 48:19,        4:7, 4:11
 run [2] - 56:3, 56:4     39:5                       sit [3] - 62:3, 76:3,    79:5                         summer [2] - 56:23,
 Russ [1] - 5:10           secretary [1] - 55:22    77:8                       started [3] - 16:2,        57:8
 RUSS [2] - 2:8, 4:9       section [1] - 26:11       sitting [1] - 76:22      55:7, 79:6                   supervisor [3] -
 RUST [1] - 1:5            Section [2] - 28:9,       situated [1] - 1:9        starts [1] - 24:11         49:22, 50:7
 Rust [10] - 14:12,       28:11                      six [3] - 19:16, 21:4,    state [1] - 42:1            SUPERVISORY [1] -
14:14, 15:16, 16:19,       see [4] - 46:22, 50:7,   56:19                      STATE [1] - 85:1           1:17
17:6, 17:9, 17:16,        69:9, 80:21                sixty [4] - 22:22,        State [1] - 85:6            support [2] - 22:6,
17:19, 18:2, 18:11         seek [1] - 82:16         33:14, 69:8, 71:10         STATES [1] - 1:3           38:22
                           semester [3] - 39:2,      sixty-five [1] - 33:14    stay [2] - 56:5, 61:6       surgeries [1] - 56:1
           S              39:3, 39:4                 size [2] - 81:5, 81:10    stayed [1] - 53:10          surgery [1] - 56:1
                           semesters [6] -           skipped [1] - 20:17       staying [1] - 73:19         suspended [3] -
  safety [10] - 57:17,
                          38:13, 39:2, 39:12,        small [1] - 77:7          stemming [2] - 53:2,       59:6, 59:7, 66:7
62:19, 62:22, 63:7,       39:23, 41:1, 41:3          SMITH [1] - 1:6          53:3                         Sworn [1] - 84:14
64:2, 64:11, 64:18,
                           SERAFINI [1] - 1:16       sold [1] - 32:11          step [1] - 20:18            sworn [3] - 5:3, 5:16,
65:5, 67:23, 72:14
                           set [1] - 84:3            someone [4] - 30:8,       still [4] - 8:17, 12:13,   85:14
  SAHASRABUDHE
                           settings [1] - 12:11     30:17, 31:3, 65:22        55:8, 75:11                  system [2] - 45:21,
[21] - 4:10, 5:6, 12:8,
                           setup [1] - 31:2          sometimes [5] -           stipulated [1] - 4:17      45:22
12:18, 13:21, 15:10,
                           seven [8] - 21:9,        6:11, 27:3, 43:2,          stipulations [1] -          System [1] - 46:17
56:11, 56:13, 68:18,
                          32:9, 33:4, 33:14,        46:12                     4:15
69:19, 74:5, 74:9,
                          43:16, 56:19, 68:23,       somewhere [2] -           stop [7] - 39:11,                     T
74:15, 74:20, 75:6,
                          71:3                      35:6, 51:22               42:16, 45:14, 49:1,
79:8, 79:15, 81:13,                                                                                        table [1] - 77:8
                           seventy [5] - 55:12,      son's [1] - 20:20        62:9, 68:8, 73:8
82:9, 83:5, 83:7                                                                                           TANIQUA [1] - 1:7
                          55:15, 68:22, 71:2,        soon [1] - 76:15          stopped [4] - 42:18,
  Sahasrabudhe [1] -                                                                                       Taniqua [9] - 11:18,
                          71:10                      sorry [7] - 30:12,       51:9, 57:16, 76:12
5:9                                                                                                       11:19, 12:4, 12:9,
                           seventy-eight [2] -      37:1, 39:15, 44:16,        store [1] - 51:11
  salary [1] - 43:23                                                                                      13:17, 13:22, 14:1,
                          68:22, 71:2               47:22, 54:2, 55:16         story [2] - 23:7
  SARMIENTO [1] -                                                                                         14:8, 15:6
                           seventy-four [2] -        sorta [1] - 77:9          straight [1] - 10:2
1:7                                                                                                        Tanisha [1] - 58:19
                          55:12, 55:15               space [1] - 28:16         Stratton [7] - 38:3,
  Scajaquada [6] -                                                                                         tapestry [1] - 20:13
                           seventy-nine [1] -        specific [9] - 10:10,    38:5, 39:17, 40:19,
65:7, 65:12, 65:19,                                                                                        TEFFT [16] - 4:6,
                          71:10                     12:5, 34:7, 51:10,        40:22, 53:7, 53:9
68:9, 72:3, 73:4                                                                                          12:6, 12:12, 12:14,
                           shake [1] - 6:23         59:23, 66:22, 70:11,       Street [38] - 2:9, 4:3,
  scare [1] - 49:8                                                                                        13:19, 15:7, 68:16,
                           SHAKETA [1] - 1:6        72:13, 77:13              4:11, 5:2, 14:19, 20:4,
  scared [1] - 49:12                                                                                      69:16, 74:3, 74:7,
                           sharing [1] - 15:5        specifically [27] -      20:5, 22:8, 22:18,
  schedule [2] - 56:1,                                                                                    74:13, 74:18, 75:2,
                           SHAVONNE [1] - 1:6       8:21, 10:8, 10:14,        22:20, 22:23, 23:10,
56:3                                                                                                      81:11, 81:20, 83:6
                           Sheila [3] - 29:19,      10:16, 11:2, 11:3,        25:2, 25:10, 25:12,
  scholarship [1] -                                                                                        temp [1] - 47:17
                          29:21, 29:22              11:4, 14:15, 15:12,       25:13, 25:20, 25:23,
39:6                                                                                                       tempted [1] - 6:22
                           SHIRLEY [1] - 1:7        28:21, 28:23, 35:7,       26:11, 26:21, 27:8,
  school [13] - 20:10,                                                                                     ten [5] - 9:13, 22:10,
                           short [1] - 24:17        43:6, 43:9, 43:11,        27:9, 27:18, 27:23,
20:12, 21:2, 21:12,                                                                                       68:5, 71:13, 72:1
                           Shorthand [1] - 85:9     46:3, 52:21, 55:21,       28:2, 28:3, 28:6,
37:13, 37:14, 37:17,                                                                                       test [14] - 45:18,
                           show [3] - 61:3,         59:8, 63:18, 63:20,       29:12, 29:23, 30:4,
37:18, 37:20, 38:9,                                                                                       45:19, 45:23, 46:14,
                          68:19, 79:8               70:13, 71:8, 71:23,       30:9, 31:12, 32:19,
39:14, 51:23, 60:15                                                                                       46:19, 46:23, 47:4,
                           showed [1] - 61:5        73:17, 76:3, 80:20        33:15, 67:6, 67:9
  School [6] - 20:13,                                                                                     47:7, 57:4, 60:2, 60:5,
                           Side [8] - 26:19,         speculate [2] - 7:8,      street [13] - 20:7,
21:3, 21:13, 37:14,                                                                                       60:8, 60:10, 60:12
                          27:14, 33:2, 33:23,       9:1                       26:12, 26:16, 27:11,
37:16, 37:18                                                                                               testified [1] - 5:4
                          36:16, 70:10, 72:17,       speculation [1] - 9:4    31:13, 32:10, 32:20,
  science [1] - 52:14                                                                                      testify [1] - 85:14
                          72:20                      speeding [1] - 61:15     33:20, 33:22, 36:9,
  season [1] - 52:2                                                                                        testimony [12] -
                           sides [1] - 68:7          spend [1] - 39:23        51:1, 67:7, 68:6
  seasonal [1] - 52:2                                                                                     5:14, 5:16, 5:18, 5:23,
                           sign [1] - 61:2           spoken [4] - 11:8,        streets [1] - 36:14
  seasons [1] - 52:8                                                                                      6:20, 8:2, 11:6, 84:5,
                           signed [1] - 60:23       11:11, 14:1, 17:2          stretch [1] - 36:15
  seat [22] - 62:11,                                                                                      85:7, 85:10, 85:11,
                           significant [2] -         spots [1] - 72:12         student [2] - 52:22,




                                       Sue Ann Simonin Court Reporting
   Case 1:18-cv-00719-CCR                        Document 252-38                 Filed 02/07/25            Page 95 of 95
                                                       Jasmine Evans
                                                                                                                                    8
85:19                      57:12, 57:17, 61:9,        66:22, 66:23, 81:8          voluntary [2] - 39:11,    Wright [1] - 37:16
 THE [15] - 1:5, 12:7,     62:4, 62:18, 62:22,         two-block [1] - 26:16     39:15                      writing [1] - 85:11
12:13, 12:15, 13:20,       63:7, 66:12, 72:19,         type [1] - 77:13           vs [1] - 1:11
15:8, 68:17, 69:17,        74:10, 74:17, 74:22                                                                        Y
74:4, 74:8, 74:14,          transcribed [4] -                    U                         W                year [20] - 13:10,
74:19, 75:3, 81:12,        6:11, 6:21, 7:1, 7:2
                                                       ultimately [1] - 77:19     wage [3] - 44:4, 44:5,   20:20, 31:15, 31:17,
81:21                       Transcript [2] - 3:5,
                                                       um-hum [3] - 6:23,        44:9                      37:19, 40:19, 41:7,
 thirteen [1] - 54:6       79:11
                                                      24:9, 73:1                  wait [1] - 6:14          43:16, 51:6, 53:20,
 thirty [2] - 27:16,        transcript [6] - 4:20,
                                                       uncomfortable [1] -        waived [2] - 4:19,       56:20, 56:22, 56:23,
30:1                       10:19, 79:20, 84:4,
                                                      31:10                      4:20                      57:4, 57:8, 57:21,
 THOMAS [1] - 1:17         85:18, 85:19
                                                       under [4] - 7:20, 8:4,     walked [2] - 82:13,      58:2, 60:3, 60:20,
 thousand [2] - 22:15,      transferred [1] -
                                                      36:1, 85:11                82:14                     80:12
53:1                       24:18
                                                       understood [1] -           Ware [1] - 58:19          years [13] - 12:16,
 three [22] - 10:4,         travel [1] - 45:3
                                                      7:17                        wearing [2] - 81:16,     13:6, 14:21, 25:17,
22:15, 25:17, 25:18,        triage [1] - 56:2
                                                       unexcused [2] -           81:19                     27:6, 33:19, 35:5,
27:6, 31:20, 33:19,         trial [1] - 4:22
                                                      43:16, 43:17                week [4] - 9:22,         40:21, 40:23, 52:5,
34:5, 35:9, 40:17,          Trial [1] - 2:6
                                                       unit [3] - 23:7, 23:8,    55:17, 58:8, 59:23        59:19, 64:14, 70:12
40:23, 51:13, 66:22,        tried [3] - 47:3,
                                                      30:18                       weekly [1] - 58:5         YELDON [1] - 1:8
68:22, 71:2, 71:9,         49:12, 51:11
                                                       UNITED [1] - 1:3           weeks [3] - 43:12,        York [9] - 2:10, 4:4,
72:22, 73:2, 73:14,         trucks [1] - 22:4
                                                       units [1] - 23:3          43:14, 55:6               4:8, 4:12, 5:2, 12:20,
73:20                       true [4] - 73:17, 75:3,
                                                       universities [2] -         weight [4] - 49:11,      17:17, 85:6
 throughout [2] -          84:4, 85:18
                                                      39:18, 53:4                77:12, 81:5, 81:10         YORK [3] - 1:4, 4:2,
70:20, 72:12                truth [3] - 85:15,
                                                       university [1] - 38:10     weird [2] - 30:16,       85:1
 throwing [1] - 9:14       85:16
                                                       UNKNOWN [2] -             31:2                       YOUNG [1] - 1:16
 ticket [21] - 61:15,       truthful [1] - 8:1
                                                      1:17, 1:18                  West [9] - 14:19,         Young [1] - 32:17
62:4, 62:9, 62:15,          try [4] - 6:18, 7:3,
                                                       unless [3] - 5:17,        22:20, 22:21, 23:10,       yourself [2] - 22:16,
62:21, 63:4, 63:10,        46:22, 47:6
                                                      59:6, 75:19                25:9, 25:12, 25:23,       56:7
63:23, 64:7, 64:19,         trying [4] - 7:8, 49:8,
65:9, 65:11, 67:4,                                     up [23] - 23:4, 23:12,    26:19, 72:20
                           49:10, 53:4
67:10, 67:18, 68:10,                                  28:13, 28:16, 37:8,         WESTERN [2] - 1:4,
                            tuition [2] - 52:18,
68:13, 68:15, 78:17,                                  37:11, 47:8, 48:4,         4:2
                           52:20
80:12, 81:15                                          58:3, 59:5, 60:23,          Western [2] - 12:20,
                            Tupper [7] - 22:20,
 ticketed [4] - 61:18,                                61:2, 61:3, 61:5,          17:17
                           22:21, 23:10, 25:9,
68:1, 71:19, 78:9                                     70:10, 81:15, 81:23,        whole [5] - 31:1,
                           25:12, 25:23, 28:6
 tickets [16] - 5:20,                                 82:4, 82:11, 82:12,        44:10, 61:6, 78:4,
                            turn [2] - 72:8, 72:9
10:20, 57:12, 61:9,                                   82:13, 82:14, 83:6         85:15
                            turned [3] - 25:19,
62:11, 67:1, 73:10,                                    upstairs [1] - 28:4        WILLIAMS [1] - 4:2
                           34:5, 52:1
75:19, 77:19, 78:13,                                   urine [1] - 46:5           Williamsville [1] -
                            twelve [3] - 19:16,
79:21, 80:6, 81:8,                                                               54:1
                           19:17, 23:14
82:17, 82:22, 83:2          twenty [5] - 15:19,                  V                WINANS [2] - 2:11,
 TO [1] - 3:1                                                                    85:21
                           28:20, 35:9, 55:11,         valid [12] - 56:15,
 today [9] - 6:1, 6:10,                                                           Winans [1] - 85:5
                           55:15                      56:17, 57:1, 57:2,
8:2, 9:2, 9:17, 11:6,                                                             window [1] - 82:4
                            twenty-eight [1] -        57:9, 57:11, 58:3,
62:3, 69:6, 76:3                                                                  withdrawn [4] - 58:2,
                           28:20                      58:16, 59:4, 59:20,
 together [3] - 15:4,                                                            64:5, 67:22, 78:16
                            twenty-one [1] -          62:1, 66:10
18:22, 53:5                                                                       WITNESS [14] - 12:7,
                           55:11                       Vascular [1] - 56:3
 Tonawanda [2] -                                                                 12:13, 12:15, 13:20,
                            twenty-three [1] -         vehicle [13] - 43:2,
63:3, 63:4                                                                       15:8, 68:17, 69:17,
                           35:9                       59:21, 64:2, 64:11,
 took [9] - 46:5, 53:6,                                                          74:4, 74:8, 74:14,
                            twenty-two [1] -          64:18, 65:5, 67:23,
60:5, 60:12, 76:4,                                                               74:19, 75:3, 81:12,
                           55:15                      71:13, 72:14, 72:19,
76:16, 80:8, 81:22,                                                              81:21
                            twice [1] - 59:23         74:23, 76:9, 78:11
82:5                                                                              Wohlers [1] - 27:12
                            two [29] - 14:16,          verbal [4] - 6:19, 7:4,
 total [2] - 63:13, 64:6                                                          word [2] - 78:3
                           18:1, 19:16, 21:16,        50:5, 50:8
 totally [3] - 6:8, 7:7,                                                          words [5] - 41:1,
                           26:13, 26:16, 29:17,        verbatim [1] - 85:8
8:8                                                                              77:10, 78:13, 81:7,
                           33:7, 34:5, 35:5,           violation [5] - 43:5,
 towards [3] - 41:10,                                                            81:18
                           35:11, 35:13, 35:14,       66:12, 74:10, 74:17,
42:14, 49:18                                                                      worker [2] - 49:4,
                           36:14, 38:13, 39:1,        74:22
 Tower [1] - 4:3                                                                 49:5
                           39:12, 40:1, 40:4,          violations [5] -
 Traffic [1] - 80:9                                                               works [1] - 26:7
                           40:14, 52:15, 55:6,        28:20, 28:22, 29:2,
 traffic [13] - 5:20,                                                             wow [1] - 22:11
                           55:15, 59:11, 59:13,       29:5, 29:9




                                         Sue Ann Simonin Court Reporting
